Case 9:19-cr-80181-RAR Document 397 Entered on FLSD Docket 12/15/2022 Page 1 of 41




                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA

                                CASE NO. 19-CR-80181-RUIZ/REINHART



  UNITED STATES OF AMERICA

  v.

  MINAL PATEL, a/k/a "Minalkumar Patel,"

                                           Defendant.

 - - - - - - - - - - - - -I
                                       ADMITTED ExmBITS LIST

                                              Date
       .Exhibit Number   Date Identified                            , Description ofExhibit
                                            Admitted                             ...
              2            12/8/2022        12/8/2022          Count 2: Claim Submitted for V.H.
              3            12/8/2022        12/8/2022          Count 3: Claim Submitted for E.G.
              4            12/8/2022        12/8/2022          Count 4: Claim Submitted for H.K.
                                                         Count 6: Payment from LabSolutions to Brett
              6            12/8/2022        12/8/2022
                                                                              Hirsch
                                                         Count 7: Payment from LabSolutions to Brett
              7            12/8/2022        12/8/2022
                                                                              Hirsch
                                                        Count 8: Payment from LabSolutions to XGEN
              8            12/8/2022        12/8/2022
                                                                            Marketing
                                                        Count 9: Payment from LabSolutions to XGEN
             9             12/8/2022        12/8/2022
                                                                            Marketing
            101           11/29/2022       11/29/2022     Medicare Contractor Regions: 2016 to 2019
            103            12/8/2022        12/8/2022       Referring Provider Distribution by State
            106            12/8/2022        12/8/2022   CGx Billed & Paid (Part B) by Practice Location
            107           11/29/2022       11/29/2022     Top Procedure Codes Part B (Billed> $IM)
            108           11/29/2022       11/29/2022         Top 10 CGX Procedure Codes Part B
            109           11/29/2022       11/29/2022                      CGx Criteria
            110           11/29/2022       11/29/2022                  Tier 2 CGx Criteria
            111           11/29/2022       11/29/2022                      PGx Criteria
            112           12/8/2022         12/8/2022           Total Billed (Part B & C) by Test
            113           12/8/2022         12/8/2022               CGx Tests Billed (Part B)
                                                        Tests Billed For Beneficiaries w ith at Least One
            114            12/8/2022        12/8/2022
                                                                       CGX Test (Part B)
            115            12/8/2022        12/8/2022       Diagnosis Codes for CGx Tests-Part B
            116             12/8/202        12/8/2022          Summary of CGx Procedure Codes
Case 9:19-cr-80181-RAR Document 397 Entered on FLSD Docket 12/15/2022 Page 2 of 41




                                                  LabSolutions Inc - Sources of Funds January 2017
        122A         12/8/2022    12/8/2022
                                                                     to August 2019
         123         12/8/2022    12/8/2022           Flow of Funds through Minal Patel Entities
                                                    Payments to Select Marketers January 2017 to
         124         12/8/2022    12/8/2022
                                                                      August 2019
         125         12/8/2022    12/8/2022        Summary of Payments through XGEN and BBAR
         126         12/8/2022    12/8/2022                     Payments to Minal Patel
                                                    Flow of Medicare Funds from Lab Solutions to
         127         12/8/2022    12/8/2022
                                                        Minal Patel January 2017 to April 2019
        128          12/8/2022    12/8/2022          Ferrari Payment January 2018 to August 2018
                                                  Hennessy Jaguar Land Rover Payment March 2019
        129          12/8/2022    12/8/2022
                                                                      to May2019
        132         12/8/2022    12/8/2022            Summary of Patel Calls with Ramamurthy
        133         12/8/2022    12/8/2022                Summary of Patel Calls with Griner
        134         12/8/2022    12/8/2022                Summary of Patel Calls with Hirsch
        135         12/5/2022    12/5/2022                Summary of Patel Calls with Sporn
        137         12/8/2022    12/8/2022           LabSolutions American Express Transactions
        138         12/8/2022    12/8/2022              Summary of Patel Movement of Funds
        139         12/8/2022    12/8/2022                        Patel Signature Cards
        140         12/8/2022    12/8/2022           LabSolutions Payments to Select Individuals
        151         12/8/2022    12/8/2022                   XGEN Transaction Summary
        153         12/8/2022    12/8/2022                     ePay Transaction Summary
        154         12/8/2022    12/8/2022                    Hirsch Transaction Summary
        155         12/5/2022    12/5/2022                  MediPak Transaction Summary
                                                        McKeon and Dinnen to Telemeds and
        156         12/8/2022    12/8/2022
                                                                     Telemarketers
                                                    Composite of Payments from LabSolutions to
        157         12/8/2022    12/8/2022
                                                                         Hirsch
                                                    Composite of Payments from LabSolutions to
        158         12/8/2022    12/8/2022
                                                                         XGEN
                                                    Composite of Payments from LabSolutions to
        159         12/8/2022    12/8/2022
                                                                        MediPak
        165         12/8/2022    12/8/2022                    Q Health Services Summary
        166         12/8/2022    12/8/2022           Claims Submitted for Assorted Beneficiaries
                                                  2017 LabSolutions Medicare Part B Billing Data
       201A         11/29/2022   11/29/2022       (3309102019003 LABSOLUTIONS LLC Part B
                                                                       2017.xlsx)
                                                  2018 LabSolutions Medicare Part B Billing Data
       201B         11/29/2022   11/29/2022       (3309102019003 LABSOLUTIONS LLC Part B
                                                                       2018.xlsx)
                                                    January 1 - September 6, 2019 LabSolutions
       201C         11/29/2022   11/29/2022        Medicare Part B Billing Data (3309102019003
                                                     LABSOLUTIONS LLC Part B 2019.xlsx)
                                                   2017-19 LabSolutions Aetna Medicare Part C
       202A         11/29/2022   11/29/2022
                                                   Billing Data (20193909 SPM HHS-OIG.xlsx)


                                              2
Case 9:19-cr-80181-RAR Document 397 Entered on FLSD Docket 12/15/2022 Page 3 of 41




                                                   Aetna Medicare Part C Billing Data Certificate of
        202B        11/29/2022   11/29/2022
                                                           Authenticity (HI..X 03-00000116)
                                                   2017-19 LabSolutions Humana Medicare Part C
        203A        11/29/2022   11/29/2022
                                                             Billing Data (Claims Data.xlsx)
                                                   Humana Medicare Part C Billing Data Certificate
        203B        11/29/2022   11/29/2022
                                                          of Authenticity (HIX 03 00000117)
                                                    2017-19 Lab Solutions Optum Medicare Part C
        204A        11/29/2022   11/29/2022
                                                           Billing Data (United 963042.xlsx)
                                                           Optum Certificate of Authenticity
        204B        11/29/2022   11/29/2022
                                                              (HLX 41 0000005511 - 512)
                                                   201 7-19 Lab Solutions WellCare Medicare Part C
        205A        11/29/2022   11/29/2022
                                                     Billing Data (Lab Claims 1.1.17-10.2.19.xlsx)
                                                   WellCare Medicare Part C Billing Data Certificate
        205B        11/29/2022   11/29/2022
                                                          of Authenticity (HLX 03-00000119)
                                                          Claims Data for Count Beneficiaries
        206A        11/29/2022   11/29/2022
                                                    (3310062022016 ALOB - 3 Beneficiaries.xlsx)
                                                        Letter Certifying Claims Data for Count
        206B        11/29/2022   11/29/2022
                                                            Beneficiaries (Partial Letter.pdf)

       207A         11/29/2022   11/29/2022 3307262021009 21 Providers - DME Referring.xlsx

                                                        3307262021009 21 Providers - HHA
        207B        11/29/2022   11/29/2022
                                                                  Attending.xlsx
                                                       3307262021009 21 Providers - Part A
       207C         11/29/2022   11/29/2022
                                                                  Attending.xlsx
                                                   3307262021009 21 Providers - Part B Referring
       20m          11/29/2022   11/29/2022
                                                                  2017-2018.xlsx
                                                   3307262021009 21 Providers - Part B Referring
       207E         11/29/2022   11/29/2022
                                                                  2019-2021.xlsx
                                                       3307262021009 21 Providers - Part B
       207F         11/29/2022   11/29/2022
                                                                  Rendering.xlsx
                                                   2014-01-02, LabSolutions Medicare Enrollment
                                                               Form 855B (Cahaba)
       209A         11/29/2022   11/29/2022
                                                   (HLX_04-00000287-346) (1275971707 - 85B -
                                                          INITIAL ENROLLMENT.pdf)
                                                   2014-01-09, Letter from CMS to LabSolutions re
                                                     Receipt of Medicare Enrollment Form 855B
       209B         11/30/2022   11/30/2022                            (Cahaba)
                                                      (HLX_04-00000271) (1275971707 - 85B -
                                                         INITIAL ENROLLMENT 1.1. pdf)
                                                  2014-02-19, Email from Cahaba to Lab Solutions re
                                                   Missing Application Fee Payment - LabSolutions
       209C        11/30/2022    11/30/2022                     CMS-855B (Cahaba)
                                                      (HLX_ 04-00000284) (1275971707 - 85B -
                                                         INITIAL ENROLLMENT 1.7.pdf)



                                              3
Case 9:19-cr-80181-RAR Document 397 Entered on FLSD Docket 12/15/2022 Page 4 of 41




                                              2014-03-19, Letter from CMS to LabSolutions
                                            Rejecting Initial Medicare Enrollment for Failure to
        209D        11/30/2022   11/30/2022     Submit Application Fee (Cahaba) (HLX-04-
                                             00000285 - 286) (1275971707 - 85B - INITIAL
                                                          ENROLLMENT 1.8.pdf)
                                            2014-03-20, Email from LabSolutions to Cahaba re
                                                Proof of Payment for Medicare Enrollment
                                                · Application + Attached Proof of Payment
        209E        11/30/2022   11/30/2022
                                              (HLX_04-00000276-278) (1275971707 - 85B -
                                             INITIAL ENROLLMENT 1.4.pdf; 1275971707 -
                                                  85B - INITIAL ENROLLMENT 1.5.pdf)
                                                   2014-03-25, Site Visit Report for LabSolutions
                                                                     (Cahaba)
        209F        11/30/2022   11/30/2022
                                                  (HLX_04-00000279-283) (1275971707 INITIAL
                                                             ENROLLMENT 1.6.pdf)
                                                     2014-04-08, Letter from CMS to LabSolutions
                                                    Approving Medicare Enrollment Form 855B -
       209G         11/30/2022   11/30/2022               LabSolutions CMS-855B (Cahaba)
                                                    (HLX_04-00000272-274) (1275971707 - 85B -
                                                          INITIAL ENROLLMENT 1.2.pdf)
                                                   2014-04-08, Letter from CMS to LabSolutions re
                                                          Medicare Payment Cycles (Cahaba)
       209H         11/30/2022   11/30/2022
                                                      (HLX_04-00000275) (12575971707 - 85B -
                                                          INITIAL ENROLLMENT 1.3.pdf)
                                                     2014-07-10, Amended LabSolutions Medicare
                                                           Enrollment Form 855B (Cahaba)
       210A         11/29/2022   11/29/2022
                                                     (HLX_04-00000355-406) (1275971707 - 85C
                                                                         l.pdf)
                                                    2014-07-17, Letter from CMS to Lab Solutions
                                                  Approving Amended Medicare Enrollment Form
       210B         11/30/2022   11/30/2022
                                                                    855B (Cahaba)
                                                  (HLX 04-00000347) (1275971707 - 85C 1.1.pdf)
                                                      2014-10-22, Second Amended LabSolutions
                                                       Medicare Enrollment Form 855B (Cahaba)
       212A         11/29/2022   11/29/2022
                                                     (HLX_04-00000407-428) (1275971707 - 85C
                                                                         2.pdf)
                                                  2014-10-22, Letter from CMS to Lab Solutions re
                                                      Second Amended LabSolutions CMS-855B
       212B        11/30/2022    11/30/2022                            (Cahaba)
                                                    (HLX_04-00000348-349) (1275971707 - 85C
                                                                        1.2.pdf)




                                              4
Case 9:19-cr-80181-RAR Document 397 Entered on FLSD Docket 12/15/2022 Page 5 of 41




                                                2015-06-05, Third Amended LabSolutions
                                                Medicare Enrollment Form 855B (Cahaba)
        213A        11/29/2022   11/29/2022
                                              (HLX_ 04-00000520-542) (1275971707 - 85C
                                                                 5.pdf)
                                               2015-10-22, Lab Solutions EFT Agreement
                                                                (Cahaba)
        213D        11/29/2022   11/29/2022
                                            (HLX 04-00000511-513) (1275971707 - 85C 5.2-
                                                                EFT.pdf)
                                               2016-02-22, Fourth Amended LabSolutions
                                               Medicare Enrollment Form 855B (Cahaba)
        214A        11/29/2022   11/29/2022
                                              (HLX_04-00000434-483) (1275971707 - 85C
                                                                 3.pdf)
                                                    2016-02-24, Letter from CMS to Lab Solutions
                                                       Confirming Receipt of Fourth Amended
        214B        11/30/2022   11/30/2022         LabSolutions Medicare Application Form 855B
                                                                      (Cahaba)
                                                   (HLX 04-00000429) (1275971707 - 85C 3.l .pdf)
                                                    2016-02-26, Letter from CMS to LabSolutions
                                                    Requesting Additional Information on Fourth
                                                    Amended LabSolutions Medicare Application
       214C         11/30/2022   11/30/2022
                                                                      (Cahaba)
                                                    (HLX_04-00000430-431) (1275971707 -85C
                                                                       3.2.pdf)

                                                    2016-03-30, Letter from CMS to LabSolutions
                                                   Rejecting Fourth Amended Medicare Enrollment
       214D         11/30/2022   11/30/2022
                                                                Application (Cahaba)
                                                  (HI.,X_ 04-00000432) (12575971707 - 85C 3 .3 .pdf)

                                               2018-03-08, Electronic Medicare Enrollment
                                                       Application for LabSolutions
       216A         11/29/2022   11/29/2022
                                             (HLX_04-00000547-555) (1275971707 - 85CW
                                                                  l.pdf)
                                              2018-09-04, Lab Solutions Electronic Medicare
                                                  Enrollment Application Form 855B for
       217A         11/29/2022   11/29/2022       Pennsylvania Location (Novitas) (LAB
                                             SOLUTIONS LLC- 855B ADR.pdf) (HLX_04-
                                                             00000640-646)
                                             2014-11-25, Georgia Pain & Wellness Medicare
        220        11/29/2022    11/29/2022 Enrollment Form 855B (HLX_04-0000065-70) (CI
                                                                  l.pdf)

                                                  2011-04-26, Hapeville Medical Center Enrollment
       221A        11/29/2022    11/29/2022
                                                  Form 855B (HLX_04-00000186-188) (IE 1.1.pdf)




                                              5
Case 9:19-cr-80181-RAR Document 397 Entered on FLSD Docket 12/15/2022 Page 6 of 41




                                                  2011-04-26, Hapeville Medical Center Enrollment
        221B        11/29/2022   11/29/2022
                                                   Form 855B (HLX 04-00000195-208) (IE 1.pdf)

                                                  2011-04-13, Hapeville Medical Center Enrollment
        221C        11/29/2022   11/29/2022
                                                   Form 855B (HLX 04-00000211-270) (IE 2.pdf)



                                                     42 U.S.C. § 1395y (effective 04.16.2015 to
        222A        11/29/2022   11/29/2022
                                                      12.12.2016) (HLX_34-0000000073-100)




                                                     42 U.S .C. § 1395y (effective 12.13.2016 to
        222B        11/29/2022   11/29/2022
                                                      10.23.2018) (HLX_34-0000000101-128)




                                                     42 U.S .C. § 1395y (effective 10.24.2018 to
       222C         11/29/2022   11/29/2022
                                                      12.10.2020) (HLX_34-0000000129-15 6)




                                                    42 U.S.C. § 1395x (effective 12.13.2016 to
       223A         11/29/2022   11/29/2022
                                                     02.08.2018) (HLX_35_0000000071-139)




                                                    42 U.S.C. § 1395x (effective 02.09.2018 to
       223B         11/29/2022   11/29/2022
                                                     10 .23.2018) (HLX_ 35_0000000140-208)




                                                    42 U.S.C. § 1395x (effective 10.24.2018 to
       223C        11/29/2022    11/29/2022
                                                     03.26.2020) (HLX_35_0000000001-070)




                                              6
Case 9:19-cr-80181-RAR Document 397 Entered on FLSD Docket 12/15/2022 Page 7 of 41




                                                  42 C.F.R. § 410.32 (effective 01.01.2013 to
        224A        11/29/2022   11/29/2022
                                                   12.31.2018) (HIX_34-0000000001-006)




                                                  42 C.F.R. § 410.32 (effective 01.01.2019 to
        224B        11/29/2022   11/29/2022
                                                    03.302020) (HLX_34-0000000007-012)




                                                  42 C.F.R. § 411.15 (effective 01.01.2015 to
       225A         11/29/2022   11/29/2022
                                                   09.30.2017) (HLX_34-0000000023-031)




                                                  42 C.F.R. § 411.15 (effective 10.01.2017 to
       225B         11/29/2022   11/29/2022
                                                   09.30.2018) (HLX_34-0000000032-040)




                                                  42 C.F.R. § 411.15 (effective 10.01.2018 to
       225C         11/29/2022   11/29/2022
                                                    11 .01.2020) (HLX_34-0000000041-049)




                                                  42 C.F.R. § 410.78 (effective 01.01.2016 to
       226A         11/29/2022   11/29/2022
                                                    12.31.2018) (HLX_34-0000000013-0l 7)




                                                  42 C.F.R. § 410.78 (effective 01.01.2019 to
       226B        11/29/2022    11/29/2022
                                                   03.30.2020) (HLX_34-0000000018-022)




                                              7
Case 9:19-cr-80181-RAR Document 397 Entered on FLSD Docket 12/15/2022 Page 8 of 41




                                                  2016-01-01, Local Coverage Determination (LCD):
        228A        11/29/2022   11/29/2022
                                                           Biomarkers Overview (135062)

                                                  2016-10-01 , Local Coverage Determination (LCD):
        228B        11/29/2022   11/29/2022
                                                           Biomarkers Overview (135062)

                                                  2016-12-01 , Local Coverage Determination (LCD):
        228C        11/29/2022   11/29/2022
                                                           Biomarkers Overview (135062)

                                                  2017-01-01 , Local Coverage Determination (LCD):
        228D        11/29/2022   11/29/2022
                                                          Biomarkers Overview (135062)

                                                  2017-02-01 , Local Coverage Determination (LCD):
        228E        11/29/2022   11/29/2022
                                                           Biomarkers Overview (135062)

                                                  2017-10-01 , Local Coverage Determination (LCD) :
        228F        11/29/2022   11/29/2022
                                                           Biomarkers Overview (135062)

                                                  2017-12-14, Local Coverage Determination (LCD):
       228G         11/29/2022   11/29/2022
                                                           Biomarkers Overview (135062)

                                                  2018-01-01 , Local Coverage Determination (LCD):
       228H         11/29/2022   11/29/2022
                                                           Biomarkers Overview (135062)

                                                  2018-03-08, Local Coverage Determination (LCD):
        2281        11/29/2022   11/29/2022
                                                           Biomarkers Overview (135062)

                                                  2018-10-01 , Local Coverage Determination (LCD) :
        228J        11/29/2022   11/29/2022
                                                           Biomarkers Overview (135062)

                                                  2019-01-01 , Local Coverage Determination (LCD):
       228K         11/29/2022   11/29/2022
                                                          Biomarkers Overview (135062)

                                                  2019-05-30, Local Coverage Determination (LCD):
       2281         11/29/2022   11/29/2022
                                                          Biomarkers Overview (135062)

                                                  2016-02-15, Local Coverage Determination (LCD):
       230A         11/29/2022   11/29/2022
                                                    BRCAI and BRCA2 Genetic Testing (136082)

                                                  2017-08-31 , Local Coverage Determination (LCD):
       230B         11/29/2022   11/29/2022
                                                    BRCAl and BRCA2 Genetic Testing (136082)




                                              8
Case 9:19-cr-80181-RAR Document 397 Entered on FLSD Docket 12/15/2022 Page 9 of 41




                                                  2017-10~26, Local Coverage Determination (LCD):
        230C        11/29/2022   11/29/2022
                                                    BRCAl and BRCA2 Genetic Testing (L36082)

                                                  2017-11-02, Local Coverage Determination (LCD):
        230D        11/29/2022   11/29/2022
                                                    BRCAl and BRCA2 Genetic Testing (L36082)

                                                  2017-11-30, Local Coverage Determination (LCD):
        230E        11/29/2022   11/29/2022
                                                    BRCAI and BRCA2 Genetic Testing (L36082)

                                                  2018-01-01, Local Coverage Determination (LCD):
        230F        11/29/2022   11/29/2022
                                                    BRCAl and BRCA2 Genetic Testing (L36082)

                                                  2018-01-29, Local Coverage Determination (LCD):
        230G        11/29/2022   11/29/2022
                                                    BRCAl and BRCA2 Genetic Testing (L36082)

                                                  2018-02-26, Local Coverage Determination (LCD):
        230H        11/29/2022   11/29/2022
                                                    BRCAl and BRCA2 Genetic Testing (L36082)

                                                  2018-07-12, Local Coverage Determination (LCD):
        2301        11/29/2022   11/29/2022
                                                    BRCAl and BRCA2 Genetic Testing (L36082)

                                                  2018-08-09, Local Coverage Determination (LCD):
        230J        11/29/2022   11/29/2022
                                                    BRCAl and BRCA2 Genetic Testing (L36082)

                                                  2018-08-23, Local Coverage Determination (LCD):
       230K         11/29/2022   11/29/2022
                                                    BRCAl and BRCA2 Genetic Testing (L36082)

                                                  2018-11-22, Local Coverage Determination (LCD):
       230L         11/29/2022   11/29/2022
                                                    BRCAl and BRCA2 Genetic Testing (L36082)

                                                  2019-01-01, Local Coverage Determination (LCD):
       230M         11/29/2022   11/29/2022
                                                    BRCAI and BRCA2 Genetic Testing (L36082)

                                                      2016-12-01, Local Coverage Determination
       231A         11/29/2022   11/29/2022          (LCD): BRCAl and BRCA2 Genetic Testing
                                                                       (L36715)
                                                      2018-01 -01 , Local Coverage Determination
       231B         11/29/2022   11/29/2022          (LCD): BRCAl and BRCA2 Genetic Testing
                                                                       (L36715)

                                                  2018-05-18, Local Coverage Determination (LCD):
       231C         11/29/2022   11/29/2022
                                                    BRCAl and BRCA2 Genetic Testing (L36715)




                                              9
Case 9:19-cr-80181-RAR Document 397 Entered on FLSD Docket 12/15/2022 Page 10 of 41




                                               2019-01-01, Local Coverage Determination (LCD):
        231D         11/29/2022   11/29/2022
                                                 BRCAl and BRCA2 Genetic Testing (L36715)

                                               2019-05-30, Local Coverage Determination (LCD):
        231B         11/29/2022   11/29/2022
                                                 BRCAl and BRCA2 Genetic Testing (L36715)

                                               2018-02-26, Local Coverage Determination (LCD):
        232D         11/29/2022   11/29/2022
                                                 Genetic Testing for Lynch Syndrome (L35024)

                                               2018-09-03 , Local Coverage Determination (LCD):
        232E         11/29/2022   11/29/2022
                                                 Genetic Testing for Lynch Syndrome (L35024)

                                               2018-09-03, Local Coverage Determination (LCD):
        232F        11/29/2022    11/29/2022
                                                 Genetic Testing for Lynch Syndrome (L35024)

                                               2018-09-03, Local Coverage Determination (LCD):
        232G        11/29/2022    11/29/2022
                                                 Genetic Testing for Lynch Syndrome (L35024)

                                               2018-09-03 , Local Coverage Determination (LCD):
        232H        11/29/2022    11/29/2022
                                                 Genetic Testing for Lynch Syndrome (L35024)

                                               2015-10-01 , Local Coverage Determination (LCD):
        233A        11/29/2022    11/29/2022
                                                 Genetic Testing for Lynch Syndrome (L35553)

                                               2018-01-29, Local Coverage Determination (LCD):
        233B        11/29/2022    11/29/2022
                                                 Genetic Testing for Lynch Syndrome (L35553)

                                               2018-01-29, Local Coverage Determination (LCD):
        235G        11/29/2022    11/29/2022       CYPC19, CYP2D6, CYP2C9, and VKORCl
                                                            Genetic Testing (L35072)
                                               2018-02-26, Local Coverage Determination (LCD):
        235H        11/29/2022    11/29/2022       CYPC19, CYP2D6, CYP2C9, and VKORCl
                                                            Genetic Testing (L35072)
                                               2018-10-01 , Local Coverage Determination (LCD):
        2351        11/29/2022    11/29/2022       CYPC19, CYP2D6, CYP2C9, and VKORCl
                                                            Genetic Testing (L35072)
                                               2018-10-01 , Local Coverage Determination (LCD):
        235]        11/29/2022    11/29/2022       CYPC19, CYP2D6, CYP2C9, and VKORCl
                                                            Genetic Testing (L35072)
                                               2016-01-01, Local Coverage Determination (LCD)
        236A        11/29/2022    11/29/2022     : CYP2Cl9, CYP2D6, CYP2C9, and VKORCl
                                                            Genetic Testing (L35660)
Case 9:19-cr-80181-RAR Document 397 Entered on FLSD Docket 12/15/2022 Page 11 of 41




                                                   2018-01-29, Local Coverage Determination (LCD)
        236B         11/29/2022   11/29/2022        : CYP2Cl9, CYP2D6, CYP2C9, and VKORCl
                                                               Genetic Testing (L35660)
                                                   2018-01-29, Local Coverage Determination (LCD)
        236C        11/29/2022    11/29/2022        : CYP2C19, CYP2D6, CYP2C9, and VKORCl
                                                               Genetic Testing (L35660)

                                                   2018-01-29, Local Coverage Determination (LCD):
        237D        11/29/2022    11/29/2022
                                                       APC and MUTYH Gene Testing (L36827)

         243        11/29/2022    11/29/2022                     CMS Claim Form 1500
         244        11/29/2022    11/29/2022                       UB-04 Claim Form
         245        11/29/2022    11/29/2022              CPT Gene Table Exhibit Patel.xlsx
                                                     Medicare Enrollment Application Farm CMS-
         246        11/29/2022    11/29/2022
                                                             855B (effective 2008 - 2011)
                                                     Medicare Enrollment Application Form CMS-
         247        11/29/2022    11/29/2022
                                                             855B (effective 2011 - 2019)
                                                    L.D. Benefits Integrity Referral Form (HLX 23-
        260A        11/29/2022    11/29/2022
                                                                   0000000603 - 604)
                                                    2019-07-31 , L.D. Letter from Novitas (HLX_23-
        260B        11/29/2022    11/29/2022
                                                                   0000000616 - 617)
                                                   2019-08-07, Fax from LabSolutions to Novitas re:
        260C        11/29/2022    11/29/2022
                                                          L.D. (HLX 23-0000000605 - 615)
                                                    2019-08-08, L.D. Letter from Novitas (HLX_23-
        260D        11/29/2022    11/29/2022
                                                                   0000000601 - 602)
                                                    LabSolutions BB&T Account x0767 Combined
        301          12/8/2022    12/8/2022
                                                                        Records
                                                    LabSolutions BB&T Account x5945 Combined
        302          12/8/2022    12/8/2022
                                                                        Records
                                                    LabSolutions BB&T Account x5953 Combined
        303          12/8/2022    12/8/2022
                                                                        Records
                                                    LabSolutions BB&T Account x6011 Combined
        304         12/8/2022     12/8/2022
                                                                        Records
                                                       Minalkumar Patel BB&T Account x0065
        305         12/8/2022     12/8/2022
                                                                   Combined Records
                                                       Minalkumar Patel BB&T Account x0219
        306         12/8/2022     12/8/2022
                                                                  Combined Records
                                                       Minalkumar Patel BB&T Account x8788
        307         12/8/2022     12/8/2022
                                                                  Combined Records
                                                       Minalkumar Patel JPMC Account x0736
        308         12/8/2022     12/8/2022
                                                                  Combined Records
                                                       Minalkumar Patel JPMC Account x0957
        309         12/8/2022     12/8/2022
                                                                  Combined Records
                                                       Minalkumar Patel JPMC Account x9308
        310         12/8/2022     12/8/2022
                                                                  Combined Records
        311         12/8/2022     12/8/2022        BBAR JPMC Account x0905 Combined Records

                                              11
Case 9:19-cr-80181-RAR Document 397 Entered on FLSD Docket 12/15/2022 Page 12 of 41




         312         12/8/2022    12/8/2022        ePay Citywide Account x7082 Combined Records

                                                      White Medical Wells Fargo Account x4045
         313         12/8/2022    12/8/2022
                                                                    Combined Records
                                                     XGEN Wells Fargo Account x3990 Combined
         314         12/8/2022    12/8/2022
                                                                        Records
         315         12/8/2022    12/8/2022                 Oasis Payroll Combined Records
                                                   Specialized Title Records (HLX_38_0000000073 -
         316         12/8/2022    12/8/2022
                                                                           107)
                                                   American Express Records (HLX_ 41 _ 00000040 -
         317         12/8/2022    12/8/2022
                                                                          1892)
                                                    Records for 1118 Blackshear Dr., Decatur, GA
         318         12/8/2022    12/8/2022
                                                                         30033
                                                      Mediverse (Christopher White) Wells Fargo
         319         12/8/2022    12/8/2022
                                                           Account xl659 Combined Records
         320         12/8/2022   12/8/2022             Brett Hirsch Combined Banking Records
         321         12/8/2022   12/8/2022              Marc Sporn Combined Banking Records
                                                    Georgia Department of Revenue Motor Vehicle
         322         12/8/2022   12/8/2022           Divison: Vehicle, Title, and Tag Information
                                                             (HLX 42 0000005062 - 070)

                                                    Cashier's Check from Minalkumar Patel JPMC
         323         12/8/2022   12/8/2022         Account x0736 Payable to Hennessy Jaguar Land
                                                     Rover North Atlanta (HLX_ 4 3_ 0000000007)

         324         12/8/2022   12/8/2022                 Q Health Services, LLC Wirtes
                                                    Lab Services LLC (Christopher Parks) Central
         328         12/8/2022   12/8/2022          Bank of Oklahoma Account x6953 Combined
                                                                      Records
                                                   Medipak (Marc Sporn) TD Bank Account x9809
        329          12/8/2022   12/8/2022
                                                                 Combined Records
                                                    IDGAF Marketing Bank of America Account
        330          12/8/2022   12/8/2022
                                                              x7052 Combined Records
                                                    KP Network JPMC Account x3777 Combined
        331          12/8/2022   12/8/2022
                                                                      Records
                                                   W.R. Composite (doj_patel_3_0002084426-427;
        405          12/9/2022   12/9/2022
                                                           doj_patel 3 0002084428-430)
                                                   D.N. Composite (doj_patel_3_0002140378-380;
        407          12/9/2022   12/9/2022
                                                           doj_patel 3 0002140381-382)
        408C        11/30/2022   11/30/2022                       P.W. Test Results
                                                            K.A. Patient File from UNC
        410         12/2/2022    12/2/2022
                                                            (I-Il.,X 38 0000000616 - 689)
                                                          V.H. Patiet Recording (20180621-
        411A        12/2/2022    12/2/2022
                                                       092723 jstriggles 3053057747-all.mp3)
                                                        Transcript ofV.H. Patient Recording
        411B        12/2/2022    12/2/2022
                                                           (HLX 38 0000000457 - 406)

                                              12
Case 9:19-cr-80181-RAR Document 397 Entered on FLSD Docket 12/15/2022 Page 13 of 41




                                                           E.G. Patient Recording (20180522-
        412A         12/2/2022   12/2/2022
                                                       124603 olouisjeune 9548159670-all.mp3)
                                                          Transcript of E.G. Patient Recording
        412B         12/2/2022   12/2/2022
                                                               (HI.,X 38 0000000448 - 456)
                                                           H.K. Patient Recording (20180522-
        413A         12/2/2022   12/2/2022
                                                        110047_pderisma 8137168159-all.mp3)
                                                          Transcript of H.K. Patient Recording
        413B         12/2/2022   12/2/2022
                                                               (HLX 38 0000000442 - 447)
                                                           A.K. Patient Recording (20180523-
        414A         12/2/2022   12/2/2022
                                                        161135_pwatikins 8108135584-all.mp3)
                                                          Transcript of A.K. Patient Recording
        414B         12/2/2022   12/2/2022
                                                              (HLX 39 0000003285 - 292)
                                                           W.I. Patient Recording (20180521-
        415A         12/2/2022   12/2/2022
                                                        095545_pwatikins 9417134259-all.mp3)
                                                          Transcript ofW.I. Patient Recording
        415B         12/2/2022   12/2/2022
                                                              (HLX 39 0000003293 - 302)
                                                           D.N. Patient Recording (20180531-
        416A         12/2/2022   12/2/2022
                                                         164512 eparker 7722201855-all.mp3)
                                                          Transcript ofD.N. Patient Recording
        416B         12/2/2022   12/2/2022
                                                              (HI.,X 39 0000003303 - 308)
                                                       2018-05-25, Email from Kirsten Sorenson
                                                            (MyOnCallDoc) to LabSolutions
                                                   (fax2@labsolutions.com), Thansi Ziros (BBAR),
        417          12/2/2022   12/2/2022
                                                  Shawn Griner (IDGAF), and others re: E.G., H.K.,
                                                                      J.S., L.B., L.F.
                                                                 (doj_patel 3 0002137855)
                                                      Attachment - 2018-05-25, E.G. Patient Chart
        417A         12/2/2022   12/2/2022
                                                             (doj_patel 3 0002137856-858)
                                                          Attachment - E.G. Requisition Form
        417B         12/2/2022   12/2/2022
                                                           (doj_patel 3 000002137859-860)
                                                     Attachment - 2018-05-25, H.K. Patient Chart
        417C         12/2/2022   12/2/2022
                                                             (doj_patel 3 0002137861-863)
                                                          Attachment - H.K. Requsition Form
        417D         12/2/2022   12/2/2022
                                                             (doj_patel 3 0002137864-865)
                                                       Attachment - 2018-05-25, J.S. Patient File
        417E         12/2/2022   12/2/2022
                                                             (doj_patel 3 000213 7866-868)
                                                   Attachment - J.S. Requisition Form (doj_patel_3-
        417F         12/2/2022   12/2/2022
                                                                     000213 7869-870)
                                                     Attachment - 2018-05-25, L.B. Patient Chart
        417G        12/2/2022    12/2/2022
                                                             (doj_patel 3 0002137871-873)
                                                      Attachment - L.B. Patient Requisition Form
        417H        12/2/2022    12/2/2022
                                                             (doj_patel 3 0002137874-875)
                                                     Attachment - 2018-05-25, L.F. Patient Chart
        4171        12/2/2022    12/2/2022
                                                                (doj_patel 002137876-878)



                                             13
Case 9:19-cr-80181-RAR Document 397 Entered on FLSD Docket 12/15/2022 Page 14 of 41




                                                         Attachment- L.F. Requisition Form
         417J        12/2/2022   12/2/2022
                                                             (doj_patel 3 002137879-880)
                                                  2018-05-29, Email from Marti Preston (BBAR) to
                                                      Christian McKean (XGEN), Thanasi Ziros
         422         12/5/2022   12/5/2022
                                                     (BBAR), Shawn Griner (IDGAF), others re:
                                                   Schedule ups pick up (doj_patel 3 0001276430)
                                                  Attachment- 2018-06-23, S.M. Requisition Form
        424A         12/2/2022   12/2/2022
                                                            (doj_patel 3 0002146832-833)
                                                    Attachment - 2018-06-23, S.M. Patient Chart
        424B         12/2/2022   12/2/2022
                                                            (doj_patel 3 0002146834-835)
                                                      Attachment - 2018-06-23, V.H. Patient File
        424C         12/2/2022   12/2/2022
                                                               (doj patel 3 0002146836)
                                                  Attachment - 2018-06-23, V.H. Requisition Form
        424D         12/2/2022   12/2/2022
                                                               (doj_patel 3 0002146838)
                                                  Attachment - 2018-06-22, V.W. Requisition Form
        424E         12/2/2022   12/2/2022
                                                             (doj oatel 3 002146840-841)
                                                    Attachment- 2018-06-23, V.W. Patient Chart
        424F         12/2/2022   12/2/2022
                                                           (doj_patel 3 0002146842-843)
                                                   Attachment - 2018-06-21, W.M.P. Patient Chart
        424G         12/2/2022   12/2/2022
                                                           (doj_patel 3 0002146844-845)
                                                       Attachment- W.M.P. Requisition Form
        424H         12/2/2022   12/2/2022
                                                           (doj_patel 3 0002146846-849)
                                                    Attachment - 2018-06-22, V.T. Patient Chart
        4241         12/2/2022   12/2/2022
                                                           (doj_patel 3 0002146850-851)
                                                         Attachment- V.T. Requisition Form
        424J         12/2/2022   12/2/2022
                                                           (doj_patel 3 0002146852-853)
                                                                2018-06-01, Email from
                                                  Donald.h@myoncalldoc.com (MyOnCallDoc) to
        425          12/2/2022   12/2/2022        fax2@labsolutions.com, Thanasi Ziros (BBAR),
                                                    Shawn Griner (IDGAF), others re: J.O., A.K,
                                                     K.B., D.L., M.S. (doj_patel 3 0002139479)
                                                    Attachment - 2018-05-30, J.O. Patient Chart
        425A         12/2/2022   12/2/2022
                                                           (doj_patel 3 0002139480-482)
                                                         Attachment - J.O. Requisition Form
        425B         12/2/2022   12/2/2022
                                                           (doj_patel 3 0002139483-484)
                                                    Attachment - 2018-05-03 , A.K. Patient Chart
        425C         12/2/2022   12/2/2022
                                                           (doj patel 3 0002139485-487)
                                                        Attachment-A.K. Requisition Form
        425D         12/2/2022   12/2/2022
                                                            (doj_patel 3 002139488-489)
                                                    Attachment - 2018-05-30, K.B. Patient Chart
        425E        12/2/2022    12/2/2022
                                                          (doj oatel 3 0002139490-492)
                                                       Attachment-K.B. Requisition Form
        425F        12/2/2022    12/2/2022
                                                         (doj_patel 3 0002139493-494)




                                             14
Case 9:19-cr-80181-RAR Document 397 Entered on FLSD Docket 12/15/2022 Page 15 of 41




                                                      Attachment - 2018-05-30, D.L. Patient Chart
        425G         12/2/2022   12/2/2022
                                                             (doj_patel 3 0002139495-497)
                                                          Attachment - D.L. Requisition Form
        425H         12/2/2022   12/2/2022
                                                             (doj_patel 3 0002139498-499)
                                                      Attachment - 2018-05-30, M.S. Patient Chart
         4251        12/2/2022   12/2/2022
                                                             (doj_patel 3 0002139500-502)
                                                          Attachment -M.S. Requisition Form
        4251         12/2/2022   12/2/2022
                                                             (doj_patel 3 0002139503-504)
                                                       2017-09-11 , Email from Kirsten Sorenson
                                                      (MyOnCallDoc) to fax2@labsolutions.com,
         429         12/2/2022   12/2/2022
                                                   Thanasi Ziros (BBAR), Shawn Griner (IDGAF),
                                                   others re: R.K., W.H. (doj_patel 3 0002084421)
                                                          Attachment - R.K. Requisition Form
        429A         12/2/2022   12/2/2022
                                                            (doj oatel 3 0002084422-423)
                                                          Attachment - R.K. Requisition Form
        429B         12/2/2022   12/2/2022
                                                            (doj oatel 3 0002084424-425)
                                                         Attachment - W.H. Requisition Form
        429C         12/2/2022   12/2/2022
                                                            (doj oatel 3 0002084426-427)
                                                           Attachment - W.H. Patient Chart
        429D         12/2/2022   12/2/2022
                                                            (doj_patel 3 0002084428-430)
                                                       2018-05-25, Email from Kirsten Sorenson
                                                           (MyOnCallDoc) to LabSolutions
                                                    (fax2@labsolutions.com), Thansi Ziros, Shawn
         430         12/2/2022   12/2/2022
                                                  Griner, and others re: W.I., V.A., R.B., M.W., R.S .

                                                              (doj_patel 3 0002137900)
                                                     Attachment - 2018-05-24, W.I. Patient Chart
        430A         12/2/2022   12/2/2022
                                                            (doj_patel 3 0002137901-903)
                                                         Attachment - W.I. Requisition Form
        430B         12/2/2022   12/2/2022
                                                            (doj_patel 3 000213 7904-905)
                                                         Attachment - V.A. Requisition Form
        430C         12/2/2022   12/2/2022
                                                            (doj_patel 3 000213 7906-907)
                                                           Attachment - V .A. Patient Chart
        430D         12/2/2022   12/2/2022
                                                            (doj_patel 3 000213 7908-910)
                                                         Attachment- R.B. Requisition Form
        430E         12/2/2022   12/2/2022
                                                            (doj_patel 3 0002137911-912)
                                                    Attachment - 2018-05-25, R.B. Patient Chart
        430F         12/2/2022   12/2/2022
                                                            (doj_patel 3 0002137913-915)
                                                    Attachment - 2018-05-25, M.W. Patient Chart
        430G         12/2/2022   12/2/2022
                                                           (doj_patel 3 000213 7916-918)
                                                        Attachment - M.W. Requisition Form
        430H         12/2/2022   12/2/2022
                                                           (doj_patel 3 0002137919-920)
                                                         Attachment - R.S. Requisition Form
        4301         12/2/2022   12/2/2022
                                                           (doj_patel 3 000213 7921-922)



                                             15
Case 9:19-cr-80181-RAR Document 397 Entered on FLSD Docket 12/15/2022 Page 16 of 41




                                                       Attachment - 2018-05-25, R.S. Patient Chart
         430J        12/2/2022     12/2/2022
                                                               (doj_patel 3 0002137923-926)
                                                         2018-06-05, Email from Kirsten Sorenson
                                                        (MyOnCallDoc) to fax2@labsolutions.com,
         436         12/2/2022     12/2/2022         Thanasi Ziros (BBAR), Shawn Griner (IDGAF),
                                                    others re: D.A. CGX, D.N. CGX, A.R.CGX, A.H.
                                                              CGX (doj_patel 3 0002140372)
                                                           Attachment - D.A. Requisition Form
        436A         12/2/2022     12/2/2022
                                                                (doj_patel 3 002140373-374)
                                                       Attachment - 2018-06-01, D.A. Patient Chart
        436B         12/2/2022     12/2/2022
                                                               (doj_patel 3 0002140375-377)
                                                       Attachment - 2018-06-05, D.N. Patient Chart
        436C         12/2/2022    12/2/2022
                                                              (doj_patel 3 0002140378-380)
                                                           Attachment - D.N. Requisition Form
        436D         12/2/2.022   12/2/2022
                                                              (doj_patel 3 0002140381-382)
                                                           Attachment- A.R. Requisition Form
        436E         12/2/2022    12/2/2022
                                                              (doj_patel 3 0002140383-384)
                                                       Attachment - 2018-06-04, A.R. Patient Chart
        436F         12/2/2022    12/2/2022
                                                              (doj patel 3 0002140385-387)
                                                           Attachment -A.H. Requisition Form
        436G         12/2/2022    12/2/2022
                                                              (doj_patel 3 0002140388-389)
                                                       Attachment - 2018-06-04, A.H. Patient Chart
        436H         12/2/2022    12/2/2022
                                                              (doj_patel 3 0002140390-392)
                                                     Composite RealTime Physicians Genetic Testing
         442         12/2/2022    12/2/2022
                                                              Requisition Forms (Hard Drive)
                                                       Composite ofMyOnCallDoc Genetic Testing
        443A         12/2/2022    12/2/2022
                                                              Requisition Forms (Hard Drive)
                                                     Composite MyOnCallDoc Genetic Testing Rest
        443B         12/2/2022    12/2/2022                                Results
                                                                        (Hard Drive)
                                                     Composite ofMyOnCallDoc Billing Reports for
        443C         12/2/2022    12/2/2022                          BBAR and IDGAF
                                                                        (Hard Drive)
        444A         12/2/2022    12/2/2022                      MyOnCallDoc Patient Files
        444B         12/2/2022    12/2/2022                      MyOnCallDoc Patient Files
         446         12/2/2022    12/2/2022          Composite of Dr. Tsai Requisitions (Hard Drive)
         447         12/2/2022    12/2/2022            Composite of KPN Recordings (Hard Drive)
                                                      2016-09-22, LabSolutions Provider's Preferred
                                                      Order Form for Dr. Mangala Ramamurthy, Dr.
        450         11/30/2022    11/30/2022                        Kannan Ramamurthy
                                                              (doj_patel_3_0000855856 -
                                                               doj_patel 3 0000855858)
                                                    D.B.S. Requisition Form (HLX_22-0000019059 -
        475          12/2/2022    12/2/2022
                                                                          060)



                                               16
Case 9:19-cr-80181-RAR Document 397 Entered on FLSD Docket 12/15/2022 Page 17 of 41




                                                   V.R. Requisition Form (HLX_22-0000043221 -
         477         12/2/2022   12/2/2022
                                                                          222)
         478         12/1/2022   12/1/2022                         V.H. Patient Files
        478A         12/1/2022   12/1/2022                         V .H. Patient Files
        478B         12/1/2022   12/1/2022                         V .H. Patient Files
        478C         12/1/2022   12/1/2022                         V .H. Patient Files
                                                  2013 , Lab Solutions LLC Articles of Organization
         501         12/9/2022   12/9/2022
                                                              (HLX 09-00000146-14 7)
                                                    2014, Lab Solutions LLC Annual Registration
         502         12/9/2022   12/9/2022                    (HLX 09-00000137-138)

                                                     2015, Lab Solutions LLC Annual Registration
         503         12/9/2022   12/9/2022
                                                                (HLX 09-00000139-142)
                                                        2016-01-18, Lab Solutions LLC Annual
         504         12/9/2022   12/9/2022
                                                           Registration (HLX 09-00000135)
                                                        2016-03-04, Lab Solutions LLC Annual
         505         12/9/2022   12/9/2022
                                                           Registration (HLX 09-00000136)
                                                    2017, Lab Solutions LLC Annual Registration
         506         12/9/2022   12/9/2022
                                                                  (HLX 09-00000143)
                                                    2018, Lab Solutions LLC Annual Registration
         507         12/9/2022   12/9/2022
                                                                  (HLX 09-00000144)
                                                    2019, Lab Solutions LLC Annual Registration
         508         12/9/2022   12/9/2022
                                                                  (HLX 09-00000145)
                                                     2016-05-01 , Fully Executed Laboratory Test
                                                    Distribution Agreement between LabSolutions
         601         12/7/2022   12/7/2022
                                                        LLC and Alite Medical Solutions, LLC
                                                             (doj_patel 3 0000904550-561)
                                                       2017-05-23, Email from Jon Berarducci
         602         12/7/2022   12/7/2022         (LabSolutions) to Brett Hirsch re: Labsolutions
                                                        Agreement (doj_patel 3 0001127056)
                                                   Attachment - Draft Laboratroy Test Distribution
                                                   Agreement between LabSolutions LLC and Alite
        602A         12/7/2022   12/7/2022
                                                  Medical Solutions, LLC (doj_patel_3_0001127057-
                                                                          068)
                                                    2017-08-16, Email from Brett Hirsch to Minal
        603          12/7/2022   12/7/2022          Patel re: Fwd: SKM_C554el 7081618570.pdf
                                                               (doj_patel 3 0000965151)
                                                   Attachment - Partially Executed Laboratory Test
                                                    Distribution Agreement between LabSolutions
        603A         12/7/2022   12/7/2022
                                                       LLC and Alite Medical Solutions, LLC
                                                            (doj_patel 3 0000965152-163)




                                             17
Case 9:19-cr-80181-RAR Document 397 Entered on FLSD Docket 12/15/2022 Page 18 of 41




                                                     2017-08-16, Email from Mina! Patel to Jon
                                                          Berarducci (LabSolutions) re: Fwd:
         604         12/9/2022   12/9/2022
                                                            SKM_C444el 7081618570.pdf
                                                              (doj_patel 3 0000965190)
                                                   Attachment - Partially Executed Laboratory Test
                                                    Distribution Agreement between LabSolutions
        604A         12/9/2022   12/9/2022
                                                       LLC and Alite Medical Solutions, LLC
                                                            (doj_patel 3 0000965191-202)

                                                   2017-11-11 , Email from Jon Berarducci to Brett
                                                   Hirsch, Mina! Patel, Nick Saliba (LabSolutions),
        607A         12/7/2022   12/7/2022        Tushar Narottam (LabSolutions) re: Please review
                                                   and sign the October LabSolutions Commissions
                                                     Attestation (doj_patel_3_0000974695 - 697)

                                                         2018-08-06, Email from Jon Berarducci
                                                     (LabSolutions) to Brett Hirsch re: Completed:
                                                              July Commissions Attestation
        607D         12/7/2022   12/7/2022
                                                    (doj_patel_3 _ 0002030318 - 319) + Attachment -
                                                            Executed Compliance Agreement
                                                            (doj_patel 3 0002030320 - 322)
                                                      2017-01-06, Email from Christian McKeon to
         610         12/6/2022   12/6/2022           Minal Patel, Shawn Griner (IDGAF) re: Fw:
                                                      Both Agreements (doj_patel 3 0000915420)
                                                   Attachment - 2016-09-30, Draft Laboratory Sales
                                                    Representative Distribution Agreement between
        610A         12/6/2022   12/6/2022
                                                           XGEN Marketing and LabSolutions
                                                             (doj_patel 3 0000915421-434)
                                                        2017-01-31, Email from Jon Berarducci
         611         12/9/2022   12/9/2022         (LabSolutions) to Christian McKeon, Minal Patel
                                                        re: Contracts (doj_patel 3 0000924280)
                                                   Attachment - 2016-09-30, Draft Laboratory Test
                                                  Distribution Agreement between Christian McKeon
        611A         12/9/2022   12/9/2022
                                                                  and LabSolutions LLC
                                                             (doj_patel 3 0000924281-292)
                                                    Attachment - 2016-09-30, Draft Laboratory Test
                                                  Distribution Agreement between XGEN Marketing
        611B         12/9/2022   12/9/2022
                                                               LLC and LabSolutions LLC
                                                             (doj_patel 3 0000924293-305)
                                                        2018-07-05, Email from Jon Berarducci
                                                        (LabSolutions) to Christian McKeon re:
        613          12/9/2022   12/9/2022
                                                      Completed: Contract per our conversation
                                                             (doj_patel 3 0001280101)




                                             18
Case 9:19-cr-80181-RAR Document 397 Entered on FLSD Docket 12/15/2022 Page 19 of 41




                                                      Attachment - 2017-01-01 , Fully Executed
                                                   Laboratory Test Distribution Agreement between
        613A         12/9/2022   12/9/2022
                                                    XGEN Marketing LLC and LabSolutions LLC
                                                           (doj_patel 3 0001280102-113)
                                                       2019-02-14, Email from Jon Berarducci
                                                      (LabSolutions) to Christian McKean re:
         614         12/9/2022   12/9/2022
                                                            Completed: 2019 Agreement
                                                              (doj_patel 3 0001291496)
                                                      Attachment - 2019-01-01 , Fully Executed
                                                   Laboratory Test Distribution Agreement between
        614A         12/9/2022   12/9/2022
                                                    XGEN Marketing LLC and LabSolutions LLC
                                                           (doj_patel 3 0001291497-506)
                                                    2019-04-29, Email from Docusign to Christian
         615         12/9/2022   12/9/2022         McKean re: Completed: Labsolutions Agreement
                                                             (doj_patel 3 0001295345)

                                                       Attachment - 2019-04-29, Letter from
        615A         12/9/2022   12/9/2022        LabSolutions to XGEN re Termination of January
                                                     2019 Contract (doj_patel_3_0001295 346)

                                                       Attachment - 2019-05-01 , Fully Executed
                                                     Laboratory Distribution Agreement between
        615B         12/9/2022   12/9/2022
                                                    XGEN Marketing LLC and LabSolutions LLC
                                                            (doj_patel 3 0001295347-357)
                                                   2016-09-23, Email from Shawn Griner to Rachel
         620         12/6/2022   12/6/2022         Eisner (MyOnCallDoc) re: completed paperwork
                                                          for IDGAF (HIX 38 0000000108)
                                                    Attachment - IDGAF Credit Card Authorization
        620A         12/6/2022   12/6/2022
                                                           Form (HLX 38 0000000109-117)
                                                        2017-01-02, Email from Rachel Eisner
                                                    (MyOnCallDoc) to Shawn Griner, Craig Long
         621         12/6/2022   12/6/2022
                                                        (MyOnCallDoc) re: IDGAF Agreement
                                                                (HLX 38 0000000127)
                                                      Attachment - Marketing ENGAGEMENT
        621A         12/6/2022   12/6/2022               SERVICE AGREEMENT - idgaf.pdf
                                                              (HLX 38 0000000128-135)
                                                  2017-01-18, Email from Shawn Griner to Christian
        622          12/6/2022   12/6/2022               McKean re: Fw: Revised Agreement
                                                                (HLX 38 0000000118)
                                                      Attachment - Marketing ENGAGEMENT
        622A        12/6/2022    12/6/2022             SERVICE AGREEMENT - idgafrevised
                                                            (HIX 38 0000000119 - 126)
                                                   2017-01-18, Email from Shawn Griner to Minal
        623         12/6/2022    12/6/2022               Patel re: Fw: Revised Agreement
                                                            (doj_patel 3 0000919878)



                                             19
Case 9:19-cr-80181-RAR Document 397 Entered on FLSD Docket 12/15/2022 Page 20 of 41




                                                       Attachment - Marketing ENGAGEMENT
        623A         12/6/2022    12/6/2022          SERVICE AGREEMENT - idgafrevised.pdf
                                                           (doj_patel 3 0000919883 - 890)
                                                         2018-02-08, Email from Marc Sporn
                                                   (CPL/MediPak) to Jon Berarducci (LabSolutions)
         650         12/5/2022    12/5/2022
                                                        and Will Slagle re: Signed Agreement
                                                              (doj_patel 3 0001113410)
                                                     Attachment - 2017-12-01 Partially Executed
                                                   Laboratory Test Distribution Agreement between
        650A         12/5/2022   12/5/2022
                                                         CPL Medial Group and LabSolutions
                                                           (doj_patel 3 0001113411 - 423)
                                                   2017-12-01 , Laboratory Distribution Agreement -
                                                    CPL Media Group Inc. d-b-a Medipak and Lab
         651         12/5/2022   12/5/2022
                                                                       Services
                                                            (doj_patel 3 0000904537-549)
                                                   2019-01-01 , Laboratory Distribution Agreement -
         652         12/5/2022   12/5/2022                       CPL Media Group Inc.
                                                            (doj_patel 3 0000869705-714)
                                                         2018-02-12, Email from Sonal Jariwala
                                                         (LabSolutions) to Jonathan Berarducci
                                                    (LabSolutions) re: Welcome! Please review and
        654A         12/5/2022   12/5/2022         Sign the LabSolutions Compliance Agreement and
                                                        BAA (doj_patel_3_0001113656-657) +
                                                     Attachment - Executed Compliance Agreement
                                                            (doj_patel_3_0001113658 - 660)
                                                     2016-11-01 , Email from Meena Rama to Omar
         665        11/30/2022   11/30/2022          Aleem (LabSolutions) re: Completed: Please
                                                      DocuSign (HIX GOV09 0000029095 - 096)
                                                       Attachment - 2016-09-22, Fully Executed
                                                      Laboratory Sales Representative Distribution
        665A        11/30/2022   11/30/2022
                                                       Agreement between Q Health Services and
                                                    LabSolutions (HLX GOV09 0000029097 - 109)

                                                       2017-03-13 , Email from Ramamurthyto Jon
                                                         Berarducci (LabSolutions), Stacey Adair
        667A        11/30/2022   11/30/2022        (LabSolutions), Nick Saliba (LabSolutions), others
                                                    re: We have not reeived your signed Compliance
                                                          Agreement (doj_patel_ 3_00011183 3 9)




                                              20
Case 9:19-cr-80181-RAR Document 397 Entered on FLSD Docket 12/15/2022 Page 21 of 41




                                                        2017-11-11, Email from DocuSign to Jon
                                                    Berarducci (LabSolutions) re: Completed: Please
                                                        review and sign the October Labsolutions
        667B         11/30/2022   11/30/2022                    Commissions Attestation
                                                    (doj_patel_3_0001106242 - 243) + Attachment -
                                                            Executed Compliance Agreement
                                                             (doj_patel_3_0001106244 - 246)
                                                   2018-02-15, Email from Mark Vollaro (LifeMD) to
                                                     Shawn Griner (IDGAF) and Christian McKeon
         675         12/6/2022     12/6/2022
                                                          (XGEN) re: Campaign Information
                                                               (doj_patel 3 0001271084)
                                                       Attachment - Draft Telemedicine Program
        675A         12/6/2022     12/6/2022       Agreement between LifeMD and BBAR Marketing
                                                            (doj_patel 3 0001271085 - 103)

                                                   2018-02-21, Email form Mark Vollaro (LifeMD) to
         676         12/6/2022     12/6/2022       Thanasi Ziros (BBAR), Shawn Griner (IDGAF) re:
                                                         Agreement (doj_patel_3_0002116439)

                                                       Attachment - 2018-02-15, Fully Executed
                                                      Telemedicine Program Agreement between
        676A         12/6/2022     12/6/2022
                                                             LifeMD and BBAR Marketing
                                                            (doj_patel 3 0002116440 - 458)
                                                   2017-08-01, Email from MyOnCallDoc to Shawn
                                                    Griner (IDGAF) and Thanasi Ziros (BBAR) re:
         710         12/6/2022    12/6/2022
                                                    2nd Updated Invoice 1762 from MyOnCallDoc
                                                           (PRTWPP-2934RL-0000000046)
                                                                     Attachment -
        710A         12/6/2022    12/6/2022          idgaf_chartnotesreport_ 7_ 17_ 7_ 23 _ 17 .xlsx
                                                           (PRTWPP-2934RL-000000004 7)

                                                   Attachment - idgaf_ chartnotesreport_ 7_ 31 _ 17 .xlsx
        710B         12/6/2022    12/6/2022
                                                          (PRTWPP-2934RL-0000000048)

                                                                     Attachment -
        710C         12/6/2022    12/6/2022           idgaf_chartnotesreport_7_24_7_30_17.xlsx
                                                           (PRTWPP-2934RL-0000000049)
                                                   2017-11-17, Email from MyOnCallDoc to Shawn
        717          12/6/2022    12/6/2022          Griner, Thanasi Ziros re: Invoice 1814 from
                                                       MyOnCallDoc (doj_patel 3 0002086675)
                                                                     Attachment -
        717A         12/6/2022    12/6/2022             Invoice_l814_from_MyOnCallDoc.pdf
                                                           (doj_patel 3 0002086676 - 677)
       1001H         12/7/2022    12/7/2022                   2019-07-06 20-08-19 EDT
        1004        11/30/2022    11/30/2022                  Spit on Cancer RGV Video




                                              21
Case 9:19-cr-80181-RAR Document 397 Entered on FLSD Docket 12/15/2022 Page 22 of 41




                                                  2017-06-15, Deposition Transcript ofMinal Patel
        1115F        12/9/2022   12/9/2022
                                                      185:12-186:11 (doj_patel 3 0000862835)
                                                  2017-06-15, Deposition Transcript of Mina! Patel
        1115K        12/9/2022    12/9/2022
                                                        259: 17-22 (doj_patel 3 0000862909)
                                                  2017-06-15, Deposition Transcript ofMinal Patel
        1115P        12/9/2022   12/9/2022
                                                         355:2-7 (doj_patel 3 0000863005)
         1116        12/5/2022    12/5/2022             Swab Kit from Sporn Premises Search
         1121        12/8/2022    12/8/2022             Minal Patel Toll Records (Hard Drive)
         1122        12/6/2022    12/6/2022                      Photos of Witnesses
         1123       11/30/2022   11/30/2022                    Photos of Lab Solutions
         1124        12/7/2022    12/7/2022                 Photos of Boca Beach Resort
         1125        12/8/2022    12/8/2022                 Brett Hirsch's Phone Records
        1214A       11/30/2022   11/30/2022                    Assorted Text Messages
        1214B       11/30/2022   11/30/2022                    Assorted Text Messages
                                                   Text Messages between Keith Youngswick and
        1215        11/30/2022   11/30/2022
                                                   Sean Deegan (doj_patel 3 0002713454 - 519)
                                                  2018-08-09, Text Messages between Mina! Patel
        1223         12/5/2022   12/5/2022
                                                       and Marc Sporn (SPORN 0000218235)
                                                  2018-09-02, Text Messages between Mina! Patel
        1224         12/5/2022   12/5/2022
                                                       and Marc Sporn (SPORN 0000218243)
                                                  2018-10-30, Text Messages between Mina! Patel
        1225         12/5/2022   12/5/2022
                                                    and Marc Sporn (SPORN 0000218251 - 252)
                                                    2017-01-10, Text Messages between Senthil
        1234        11/30/2022   11/30/2022            Ramamurthy, Brett Hirsch, Minal Patel
                                                           (HLX 42 0000005288 - 294)
        1241         12/7/2022   12/7/2022            Composite of Hirsch Text Messages (CD)
                                                  Text Messages Thread between Brett Hirsch and
       1241G         12/7/2022   12/7/2022
                                                                 Keith Y oungswick
                                                  Text Messages Thread between Brett Hirsch and
        12411        12/7/2022   12/7/2022
                                                                 Keith Youngswick
                                                  Text Messages Thread between Brett Hirsch and
        1241L        12/7/2022   12/7/2022
                                                                     Mina! Patel
                                                    Text Messages between Minal Patel and Jon
       1241LL        12/7/2022   12/7/2022
                                                                     Berarducci
                                                  Text Messages Thread between Brett Hirsch and
       1241N        12/8/2022    12/8/2022
                                                                     Minal Patel
                                                  Text Messages Thread between Brett Hirsch and
       12410        12/7/2022    12/7/2022
                                                                     MinalPatel
                                                  Text Messages Thread between Brett Hirsch and
       1241P        12/7/2022    12/7/2022
                                                                     Mina! Patel
                                                  Text Messages Thread between Brett Hirsch and
       1241Q        12/7/2022    12/7/2022
                                                                     Mina! Patel
                                                  Text Messages Thread between Brett Hirsch and
       1241S        12/7/2022    12/7/2022
                                                                     Mina! Patel



                                             22
Case 9:19-cr-80181-RAR Document 397 Entered on FLSD Docket 12/15/2022 Page 23 of 41




                                                    Text Messages Thread between Brett Hirsch and
        1241T        12/7/2022    12/7/2022
                                                                        Minal Patel
                                                    Text Messages Thread between Brett Hirsch and
        1241U        12/7/2022    12/7/2022
                                                                        Minal Patel
                                                    Text Messages Thread between Brett Hirsch and
        1241V        12/7/2022    12/7/2022
                                                                      Jon Berarducci
                                                    Text Messages Thread between Brett Hirsch and
        1241X        12/7/2022    12/7/2022
                                                                      Jon Berarducci
                                                    Text Messages Thread between Brett Hirsch and
        1241FF       12/7/2022    12/7/2022
                                                                      Jon Berarducci
                                                    Text Messages Thread between Brett Hirsch and
       1241GG        12/7/2022    12/7/2022
                                                                      Jon Berarducci
                                                    Text Messages Thread between Brett Hirsch and
       1241HH        12/7/2022    12/7/2022
                                                                      Jon Berarducci
                                                      Text Messages Thread Between Brett Hirsch
        1241JJ       12/7/2022    12/7/2022                                                     '
                                                              Minal Patel, and Omar Aleem
                                                    Text Messages Thread between Brett Hirsch and
       1241MM        12/7/2022    12/7/2022
                                                                       Marc Sporn
                                                    Text Messages Thread between Brett Hirsch and
        1243         12/7/2022   12/7/2022
                                                         Javiar (doj_patel 2 0001742280 - 308)
                                                         Text Messages Thread between Senthil
        1245        11/30/2022   11/30/2022                   Ramamurthy and Nick Saliba
                                                            (doj_patel 3 0000856840 - 877)
                                                    Text Messages between Senthil Ramamurthy and
        1245A       11/30/2022   11/30/2022
                                                      Nick Saliba (doj_patel 3 0000856840 - 841)
                                                    Text Messages between Senthil Ramamurthy and
        1245B       11/30/2022   11/30/2022
                                                      Nick Saliba (doj_patel 3 0000856855 - 856)
                                                    Text Messages between Senthil Ramamurthy and
        1245C       11/30/2022   11/30/2022
                                                      Nick Saliba (doj_patel 3 0000856875 - 876)

                                                   Text Messages Thread between Brett Hirsch, Minal
        1247        11/30/2022   11/30/2022
                                                     Patel, Michael Lohan and Senthil Ramamurthy

                                                   Attachment - Link to Screenshot ofYoutube, Wu-
        1247A       11/30/2022   11/30/2022
                                                               Tang Clan - C.R.E.A.M.
                                                    2016-10-05, Email from Nicholas Vartanian to
        1318        11/30/2022   11/30/2022              Senthil Ramamurthy re: PGX Codes
                                                            (HLX GOV09 0000028737)
                                                       Attachment - Best Codes for Payment of
       1318A        11/30/2022   11/30/2022
                                                     PGx.docx (HLX GOV09 0000028738 - 740)
                                                    2016-10-06, Email from Nicholas Vartanian to
        1319        11/30/2022   11/30/2022            Senthil Ramamurthy re: Re: PGX Codes
                                                         (HLX GOV09 0000028840 - 841)




                                              23
Case 9:19-cr-80181-RAR Document 397 Entered on FLSD Docket 12/15/2022 Page 24 of 41




                                                     2016-11-10, Email from Nicholas Vartanian
         1324        11/30/2022   11/30/2022        (LabSolutions) to Senthil Ramamurthy re: RE:
                                                       CGX Codes (HLX GOV09 0000028790)
                                                               Attachment - CGX CPT .xlsx
        1324A        11/30/2022   11/30/2022
                                                              (HLX GOV09 0000028791)
                                                     2016-11-11 , Email from Nicholas Vartanian
        1325        11/30/2022    11/30/2022        (LabSolutions) re: Fwd: CPT Cancer w charge
                                                      amount (HLX GOV09 0000028709 - 710)
                                                    Attachment - cpt cancer w charge amount.xlsx
        1325A       11/30/2022    11/30/2022
                                                              (HLX GOV09 0000028711)
                                                     2016-11-11 , Email from Nicholas Vartanian
        1326        11/30/2022    11/30/2022        (LabSolutions) to Senthil Ramamurthy re: Pgx
                                                      sample report (HLX GOV09 0000028741)
                                                     2016-11-11 , Email from Nicholas Vartanian
                                                   (LabSolutions) to Senthil Ramamurthy re: RE:
        1327        11/30/2022    11/30/2022
                                                             CPT Cancer w charge amount
                                                              (HLX GOV09 0000028797)
                                                   Attachment - cpt cancer w charge amount.xlsx
        1327A       11/30/2022    11/30/2022
                                                              (HLX GOV09 0000028798)
                                                     2016-11-11 , Email from Nicholas Vartanian
        1328        11/30/2022    11/30/2022    (LabSolutions) to Senthil Ramamurthy re: RE: PGx
                                                         Codes (HLX GOV09 0000028836)
                                                                 Attachment - PGX.xlsx
        1328A       11/30/2022    11/30/2022
                                                          (HLX GOV09 0000028837 - 839)
                                                  2016-11-18, Email from Frank Ngo to Nicholas
        1329        11/30/2022    11/30/2022         Vartanian (LabSolutions) re: Re: B. Villegas
                                                             (HLX GOV09 0000028766 )
                                                   2016-11-18, Email from Nicholas Vartanian to
        1330        11/30/2022    11/30/2022         Frank Ngo, Senthil Ramamurthy re: Re: B.
                                                     Villegas (HLX GOV09 0000028767 - 768)
                                                  2016-11-18, Email from Senthil Ramamurthy to
        1331        11/30/2022    11/30/2022            Nicholas Vartanian re: Re: B. Villegas
                                                          (HLX GOV09 0000028784 - 785)
                                                   2016-11-21 , Email from Nicholas Vartanian to
        1332        11/30/2022    11/30/2022         Senthil Ramamurthy re: CGX ICD 10 Codes
                                                             (HLX GOV09 0000028685)
                                                             Attachment - ICD CGX.docx
       1332A        11/30/2022    11/30/2022
                                                          (HLX GOV09 0000028686 - 688)
                                                      2016-11-23 , Email Chain between Senthil
                                                       Ramamurthy, Minal Patel, Omar Aleem
        1333        11/30/2022    11/30/2022    (LabSolutions), Nicholas Vartanian (LabSolutions)
                                                 re Bright Waters Genetics Ad (PRTWPP-0783LS-
                                                                   0000004624 - 653)




                                           24
Case 9:19-cr-80181-RAR Document 397 Entered on FLSD Docket 12/15/2022 Page 25 of 41




                                                      2016-11-25, Email from Senthil Ramamurthy to
         1334        11/30/2022   11/30/2022          Minal Patel re: Bright waters Genetics Ad script
                                                               (HIX GOV09 0000022813)

                                                          Attachment - spit_on_cancer.pdf
        1334A       11/30/2022    11/30/2022
                                                    (HLX_GOV09_0000022814-HLX_GOV09_816)

                                                     2016-12-1 , Email from Frank Ngo to Nicholas
                                                    Vartanian (LabSolutions), Senthil Ramamurthy re:
        1336        11/30/2022    11/30/2022
                                                                 Michael A. Flores MD
                                                              (HLX GOV09 0000028732)
                                                      2016-12-09, Email from Senthil Ramamurthy to
                                                      Nicholas Vartanian (LabSolutions), Minal Patel,
        1337        11/30/2022    11/30/2022              Frank Ngo re: Re: Payments Received and
                                                                  Commissions Breakdown
                                                              (HLX GOV09 0000027949 - 950)
                                                         2016-12-20, Email from Nicholas Vartanian
                                                     (LabSolutions) to Senthil Ramamurthy, Frank Ngo
        1338        11/30/2022    11/30/2022
                                                                 re: CANCER CPT CODES
                                                                (HLX GOV09 0000028683)
                                                             Attachment - CPT CANCER l .xlsx
        1338A       11/30/2022    11/30/2022
                                                                (HLX GOV09 0000028684)
                                                        2016-12-21 , Email from Nicholas Vartanian
        1340         12/9/2022    12/9/2022               (LabSolutions) to Minal Patel re: Re: Wire
                                                              (HLX GOV09 0000028061 - 062)
                                                        2016-12-23, Email from Nicholas Vartanian
        1343        11/30/2022    11/30/2022          (LabSolutions) to Senthil Ramamurthy re: Fwd:
                                                              QHL (HLX GOV09 0000028715)
                                                                  Attachment - QHL.XLSX
       1343A        11/30/2022    11/30/2022
                                                              (HLX GOV09 0000028716 - 725)
                                                        2016-12-23, Email from Nicholas Vartanian
        1344        12/6/2022     12/6/2022             (LabSolutions) to Shawn Griner re: rama list
                                                                (HLX GOV09 0000028742)
                                                           Attachment - RAMA MEDICAID.xlsx
       1344A        12/6/2022     12/6/2022
                                                             (HLX GOV09 0000028743 - 8744)
                                                      2016-12-23, Email from Senthil Ramamurthy to
                                                       Frank Ngo, Shawn Griner, Nicholas Vartanian
        1345        11/30/2022    11/30/2022
                                                    (LabSolutions), Meena Rama, Minal Patel re: Fwd:
                                                           FW: (HLX GOV09 0000026194 - 197)
                                                      2017-01-16, Email from Senthil Ramamurthy to
        1351        11/30/2022    11/30/2022           Minal Patel re: Fwd: pitch for Genetic Cancer
                                                            screening (doj__patel 3 0000919453)
                                                            Attachment - Bright waters pitch.doc
       1351A        11/30/2022    11/30/2022
                                                                 (doj__patel 3 0000919454)




                                               25
Case 9:19-cr-80181-RAR Document 397 Entered on FLSD Docket 12/15/2022 Page 26 of 41




                                                    2017-01-26, Email from Senthil Ramamurthy to
                                                       Minal Patel re: Fwd: Invitation: Medical
         1360        11/30/2022   11/30/2022
                                                   Factoring Meeting@Fri Jan 27, 2017 lOam-1 lam
                                                      (RKumar) (doj_patel_3_0000923731- 732)

                                                  2017-02-01, Email from Jon Berarducci
                                               (LabSolutions) to Senthil Ramamurthy, Tushar
         1364        11/30/2022   11/30/2022 Narottam (LabSolutions), Minal Patel, Nick Saliba
                                               (LabSolutions), Sonal Jariwala (LabSolutions)
                                                         (doj_patel 3 0000925387)
                                                 Attachment-Janl6-31 Commission.xlsm
        1364A       11/30/2022    11/30/2022
                                                         (doj_patel 3 0000925388)
                                              2017-02-16, Email from Senthil Ramamurthy to
                                              Minal Patel, Nick Saliba (LabSolutions), Sonal
        1369         11/30/2022   11/30/2022
                                              Jariwala (LabSolutions), John Scholtes re: Low
                                              commission report (doj_patel 3 00000928498)
                                              2017-02-17, Email from Lab Solutions to Minal
        1370         12/9/2022    12/9/2022 Patel, Various Employees re: Distribution E-Mails
                                                      (doj_patel 3 0000928950 - 951)

                                                         2017-02-19, Email from Stacey Adair
                                                    (LabSolutions) to Jonathan Hayes (LabSolutions),
        1372         12/ 1/2022   12/1/2022            Nick Saliba (LabSolutions), Jon Berarducci
                                                   (LabSolutions) re: Compliance Agreement Outline
                                                            (doj_patel_3_0001036994-995)

                                                    2017-02-20, Email from John Scholtes to Senthil
                                                   Ramamurthy, Nick Saliba, Minal Patel, Frank Ngo
        1375        11/30/2022    11/30/2022
                                                          re: RE: Medicaid low reimbursement
                                                               (doj_patel 3 0000929306)
                                                     2017-02-20, Email from Minal Patel to Senthil
                                                     Ramamurthy, Nick Saliba (LabSolutions), John
        1376        11/30/2022    11/30/2022
                                                         Scholtes, Frank Ngo re: Medicaid low
                                                       reimbursement (doj_patel 3 0000929335)
                                                    2017-02-27, Email from Senthil Ramamurthy to
                                                   Jon Berarducci (LabSolutions), Minal Patel, Nick
        1382        11/30/2022    11/30/2022
                                                          Saliba (Lab Solutions) re: Fwd: List
                                                               (doj_patel 3 0000931483)
                                                      20107-02-27, Email from Nick Saliba
                                                 (LabSolutions) to Stacey Adair (LabSolutions),
                                                  Sonal Jariwala (LabSolutions), Jon Berarducci
        1383        12/ 1/2022    12/1/2022     (LabSolutions), Jonathan Hayes (LabSolutions),
                                                  Shelbi Davis (LabSolutions) re: LabSolutions
                                               Compliance Agreement (doj_patel_3_0001037576 -
                                                                       578)



                                              26
Case 9:19-cr-80181-RAR Document 397 Entered on FLSD Docket 12/15/2022 Page 27 of 41




                                                    2017-03-01, Email from Jon Berarducci
                                               (LabSolutions), Senthil Ramamurthy, Frank Ngo,
         1385        11/30/2022    11/30/2022   Nick Saliba (LabSolutions), Minal Patel, Tushar
                                                           Narottam (LabSolutions)
                                                          (doj_patel 3 0000931722)
                                               Attachment - February 16-28 Commission Rama
        1385A       11/30/2022     11/30/2022
                                                    Qhealth.xlsx (doj_patel 3 0000931723)
                                              2017-03-02, Email from Sonal Jariwala to Thanasi
                                                  Ziros (BBAR), Shawn Griner (IDGAF), LS
        1386         12/6/2022     12/6/2022
                                              Management, Shelbi Davis, others re: Unapproved
                                                       Forms (doj_patel 3 0000932011)
                                                       Attachment - Patient Request Fax
        1386A        12/6/2022     12/6/2022
                                                          (doj_patel 3 0000932012)
                                                2017-03-02, Email from Shawn Griner to Sonal
                                               Jariwala (LabSolutions), LS Management, Shelbi
        1387         12/6/2022 .   12/6/2022
                                                 Davis (LabSolutions), others re: Unapproved
                                                       Forms (doj_patel 3 0000932016)

                                                       2017-03-02, Email from Shawn Griner to Nick
                                                           Saliba (LabSolutions), Sonal Jariwala
        1388         12/6/2022     12/6/2022          (LabSolutions), Thanasi Ziros (LabSolutions), LS
                                                     Management, Shelbi Davis (LabSolutions), others
                                                     re: Unapproved Forms (doj_patel_3 0000932048)

                                                       Attachment - BWH - Genetics Training Gude
        1399A       11/30/2022     11/30/2022
                                                       2.17.pdf(RAMAMURTHY 0135920 - 927)
                                                        Attachment - Family History Questionnaire
        1399B       11/30/2022     11/30/2022
                                                            (RAMAMURTHY 0135928 - 945)
                                                               Attachment - ICD CGX.docx
       1399C        11/30/2022     11/30/2022
                                                            (RAMAMURTHY 0135946 - 947)
                                                            Attachment - Molecular Req Form
       1399D        11/30/2022     11/30/2022
                                                            (RAMAMURTHY 0135948 - 950)
                                                        Attachment - Cancer Genomics Overview
       1399E        11/30/2022     11/30/2022
                                                            (RAMAMURTHY 0135951- 952)
                                                      Attachment - Predict Cancer Risk Assessment
       1399F        11/30/2022     11/30/2022
                                                            (RAMAMURTHY 0135953 - 960)
                                                          Attachment-PREDICT Sample Report
       13990        11/30/2022     11/30/2022
                                                              (RAMAMURTHY 0135961)
                                                     2017-04-03, Email from Senthil Ramamurthy to
                                                      Jon Berarducci (LabSolutions), Sonal Jariwala
                                                         (LabSolutions), Minal Patel, Nick Saliba
        1404        11/30/2022     11/30/2022
                                                     (LabSolutions), Tushar Narottam (LabSolutions)
                                                       re: March 16th-31th Qhealth Commissions
                                                                (doj_patel 3 0000944948)




                                                27
Case 9:19-cr-80181-RAR Document 397 Entered on FLSD Docket 12/15/2022 Page 28 of 41




                                                                 2017-07-11, Email from
                                                     frontdeskmail@wynnlasvegas.com to Minal Patel
         1413        12/9/2022     12/9/2022
                                                     re: Guest Bill for Mangala Ramamurthy at Wynn
                                                           Las Vegas (doj_patel 3 0000958297)
                                                             Attachment - Wynn Encore Folio
        1413A        12/9/2022     12/9/2022                 (wlv_new_folio564403204.pdf)
                                                             (doj_patel 3 0000958298 - 299)
                                                      2017-07-26, Email from Minal Patel to Senthil
         1414        11/30/2022   11/30/2022          Ramamurthy, Frank Ngo re: Cease and desist
                                                                (doj_patel 3 0000961253)
                                                             Attachment - Termination Letter
        1414A        11/30/2022   11/30/2022
                                                             (doj patel 3 0000961254 - 256)
                                                     2017-07-31, Email from Senthil Ramamurthy to
                                                    Minal Patel re: Fwd: Expedia travel confirmation -
        1415         11/30/2022   11/30/2022
                                                           July 31 - (Itinerary# 728456358206)
                                                             (doj_patel 3 0000961698 - 704)
                                                          2017-07-31, Email from Nick Saliba
                                                    (LabSolutions) to Senthil Ramamurthy, Frank Ngo,
        1416        11/30/2022    11/30/2022
                                                           Minal Patel re: Meeting Tomorrow
                                                                (doj_patel 3 0000961708)
                                                    2017-08-24, Email from Michael Dinnen (ePay) to
                                                      Minal Patel (forwarding email from Christian
        1421         12/9/2022     12/9/2022
                                                         McKean (XGEN)) re: Fwd: procedure
                                                            (doj_patel 3 0000966426 - 427)

        1421A        12/9/2022    12/9/2022         Attachment - CTC Flow (doj_patel_3 _ 0000966428)

                                                              Attachment - cancer pitch2
        1421B        12/9/2022    12/9/2022
                                                              (doj_patel 3 0000966429)
                                                        Attachment - Cancer Screening Script
        1421C        12/9/2022    12/9/2022
                                                           (doj_patel 3 0000966430 - 432)
                                                        2017-11-12, Email from Rachel Eisner
                                                    (MyOnCallDoc) to Thanasi Ziros (BBAR), Shawn
        1438         12/6/2022    12/6/2022
                                                           Griner (IDGAF), others re: P .S.
                                                           (doj_patel 3 0002084906 - 907)
                                                     2018-01-26, Email from Senthil Ramamurthy to
        1453        11/30/2022    11/30/2022        Minal Patel, Jon Berarducci (LabSolutions) re: [no
                                                           subject] (doj_patel 3 0000886958)
                                                         2018-01-26, Email from Jon Berarducci
                                                      (LabSolutions) to Nick Saliba (LabSolutions),
        1454        11/30/2022    11/30/2022
                                                    Tushar Narottam (LabSolutions), Minal Patel re:
                                                      Fwd: [no subject] (doj_patel 3 0000886959)
                                                     2018-02-05, Email from Senthil Ramamurthy to
        1455        11/30/2022    11/30/2022        Mina! Patel re: Fwd: SYLVIAM Progress Notes
                                                                (doj_patel 3 0000887861)



                                               28
Case 9:19-cr-80181-RAR Document 397 Entered on FLSD Docket 12/15/2022 Page 29 of 41




                                                    Attachment - Progress Notes - The Bryan Clinic
        1455A        11/30/2022   11/30/2022
                                                         2.2.18.pdf (doj_patel 3 0000887862)
                                                        2018-02-09, Email from Jon Berarducci
                                                    (LabSolutions), to Senthil Ramamurthy, Minal
        1456        11/30/2022    11/30/2022
                                                           Patel, others re: Conference call
                                                              (doj_patel 3 0000888354)

                                                    2018-02-09, Email from Senthil Ramamurthy to
        1457        11/30/2022    11/30/2022       Jon Berarducci (LabSolutions), Minal Patel, others
                                                     re: Conference call (doj_patel_3_0000888356)

                                               2018-02-14, Email from Senthil Ramamurthy to
        1460        11/30/2022    11/30/2022       Minal Patel re: Fwd: Progress Notes for
                                                 SYLVIAM (doj_patel 3 0000888831 - 832)
                                                2018-02-19, Email from Camille Pogorevcnik
                                                 (Rose Shore) to Minal Patel, Jon Berarducci
        1463        11/30/2022    11/30/2022 (LabSolutions), Senthil Ramamurthy, Meena Rama
                                                  re: The Bryan Clinic SYLVIAM Payment
                                                        (doj_patel 3 0000889113 - 142)
                                                2018-07-12, Email from Marc Sporn to Minal
        1494         12/5/2022    12/5/2022   Patel, re: Fw: the form that you sent me ... here it
                                                  is back (NONPPM-8076MS-0000076391)
                                              Attachment - OTHER LABS CONSIDERATION
       1494A         12/5/2022    12/5/2022   CGX SYMPTOMS AND SIGNS AND CODES
                                                   (NONPPM-8076MS-0000076392 - 395)
                                                2018-07-24, Email from Marc Sporn to Minal
                                                   Patel, re: Fwd: Predict Cancer Screening
        1499         12/5/2022    12/5/2022
                                               Requisition (NONPPM-8076MS-0000090139 -
                                                                      140)
                                               2018-09-17, Email from Brett Hirsch to Cecilia
                                             Godwin (LabSolutions), Minal Patel re: Fwd Elite-
        1515         12/7/2022    12/7/2022
                                                       Alite Sent to Lab Summary.xlsx
                                                           (doj_patel 3 0000909778)
                                             Attachment -Elite-Alite Sent to Lab Summary.xlsx
       1515A         12/7/2022    12/7/2022
                                                           (doj_patel 3 0000909779)

                                                        2018-12-11 , Email from Jon Berarducci
                                                       (LabSolutions) to Minal Patel, Nick Saliba
        1529        12/9/2022     12/9/2022
                                                    (LabSolutions), Tushar Narottam (LabSolutions)
                                                   re: Sales Update (doj_patel_3_0000843661 - 662)

                                                    2019-04-11, Email from Brett Hirsch to
        1610        12/8/2022     12/8/2022    john@labsolutions.com, Minal Patel re: Fwd: DME
                                                     Bust (doj_patel 3 0000861011 - 012)




                                              29
Case 9:19-cr-80181-RAR Document 397 Entered on FLSD Docket 12/15/2022 Page 30 of 41




                                               2019-04-17, Email from Christian McKean to
         1616        12/6/2022    12/6/2022    Tobin Watt, Minal Patel re: [EXT] Flow chart
                                                             (2022FOX0002741)
                                               2019-04-17, Email from Christian McKean to
                                               Tobin Watt, Mina! Patel re: [EXT] Flow chart
        1616A        12/6/2022    12/6/2022
                                                        Attachment - CTC Flow New
                                                             (2022FOX0002742)
                                                    Attachment - CTC Flow New 4-29-2
        1629L        12/6/2022    12/6/2022
                                                         (doj_patel 3 0001295888)
                                              2016-08-20, Email from Minal Patel to Shawn
        1683         12/6/2022    12/6/2022             Griner Re Fwd Questionnaire
                                                          (HI,X MP 0000226125)
                                              2016-08-20, Email from Minal Patel to Shawn
        1683A        12/6/2022    12/6/2022    Griner Re Fwd Questionnaire - Attachment -
                                                  Questionnaire (HI,X MP 0000226126)
                                              2016-08-20, Email from Minal Patel to Shawn
                                               Griner Re Fwd Questionnaire - Attachment -
        1683B        12/6/2022   12/6/2022
                                                    Hereditary Cancer Risk Assessment
                                                       (HLX MP 0000226128 - 134)
                                              2016-08-20, Email from Minal Patel to Shawn
                                               Griner Re Fwd Questionnaire - Attachment -
        1683C        12/6/2022   12/6/2022
                                              Critical Test Coverage Request by the Treating
                                                 Provider (HLX MP 0000226136 - 138)
                                              2016-08-20, Email from Minal Patel to Shawn
                                               Griner Re Fwd Questionnaire - Attachment -
        1683D        12/6/2022   12/6/2022          Landscape of Clinical Evidence for
                                            Pharmacogenetic Testing (HLX_MP_0000226140 -
                                                                    156)
                                              2016-08-20, Email from Minal Patel to Shawn
                                               Griner Re Fwd Questionnaire - Attachment -
        1683E        12/6/2022   12/6/2022
                                                    Molecular Diagnostics Requisition
                                                       (HLX MP 0000226158 - 159)
                                             2016-09-29, Email from Omar Aleem to Shawn
        1684         12/6/2022   12/6/2022          Griner, Mina! Patel re: Re: Update
                                                       (HLX MP 0000224758 - 759)
                                                 2017-01-31, Email from Sonal Jariwala
        1687         12/9/2022   12/9/2022 (LabSolutions) to Minal Patel Fwd Patient CGx Kit
                                                     Inquiry (doj_patel 3 000092449)
                                             2017-04-04, Email from Shawn Griner to Shelbi
                                             Davis (LabSolutions) and Christian McKean, cc
        1701         12/6/2022   12/6/2022
                                              Mina! Patel Re Fwd Missed call from telemed
                                                 patient (doj_patel 3 0000940934 - 936)




                                          30
Case 9:19-cr-80181-RAR Document 397 Entered on FLSD Docket 12/15/2022 Page 31 of 41




                                                2017-04-04, Email from Shawn Griner to Shelbi
                                                Davis (LabSolutions) and Christina Zeragoza, cc
         1702        12/6/2022   12/6/2022
                                                  Minal Patel, Re Fwd Missed Call from R. S.
                                                Telemed patient (doj_patel 3 0000940950 - 951)
                                                    2017-04-04, Email from Shelbi Davis
                                               (LabSolutions) to Christian McKean, cc Shawn
        1703         12/6/2022    12/6/2022
                                              Griner and Minal Patel Re Fwd Missed Call from
                                              Telemed Patient (doj_patel 3 0000940943 - 945)
                                              2017-04-04, Email from Thanasi Ziros to Shelbi
                                              Davis (LabSolutions) and Minal Patel, cc Shawn
        1704         12/6/2022    12/6/2022
                                              Griner Re Fwd Missed call from telemed patient
                                                      (doj_patel 3 0000940968 - 970)
                                              Amy Roebuck (LabSolutions) Notes (PRTWPP-
        1723         12/2/2022   12/2/2022
                                                        0384LS-000000000019 - 198)
                                                  2017-05-12, Email from Tushar Narottam
                                             (LabSolutions) to Keith Y oungswick, Minal Patel,
        1807         12/7/2022   12/7/2022
                                                     Brett Hirsch re: April Commission
                                                      (doj_patel 3 0000949255 - 256)
                                                   Attachment - Brett March Adjudicated
        1744A        12/7/2022   12/7/2022
                                                               Commission.xlsx
                                             2018-02-06, Email from Marc Sporn to Alex Santa
                                               re: Fw: Marc - for you to review/approve and
        1746         12/5/2022   12/5/2022
                                                send to Alex if this makes sense (NONPPM-
                                                         8076MS-0000072116 - 117)
                                                Attachment - LabSolutions Requisition Form
       1746A         12/5/2022   12/5/2022
                                                     (NONPPM-8076MS-0000072118)
                                                Attachment - LabSolutions Requisition Form
       1746B         12/5/2022   12/5/2022
                                                     (NONPPM-8076MS-0000072118)
                                                 Attachment-FEBRUARY 2018 CANCER
       1746C         12/5/2022   12/5/2022       BILLING ICD-10 CODES.pdf(NONPPM-
                                                           8076MS-0000072120)
                                               2018-03-21, Email from Brett Hirsch to Minal
        1748         12/7/2022   12/7/2022            Patel re: CGX PGX Codes.xlsx
                                                         (doj_patel 3 0000891933)
       1748A         12/7/2022   12/7/2022            Attachment - CGX PGX Codes
                                               2018-04-23, Email from Marc Sporn to Harry
        1757        12/7/2022    12/7/2022    Karachopan, Brett Hirsch, Keith Y ounswick re:
                                                 Invoice (NONPPM-8076MS-0000093061)
                                               2018-04-26, Email from Minal Patel to Shelbi
                                                   Davis (LabSolutions), Jon Berarducci
        1758        12/7/2022    12/7/2022
                                            (LabSolutions), Brett Hirsch, Matt O'Hera re: Alite
                                                 Telemed (doj_patel 3 0000896059 - 060)




                                           31
Case 9:19-cr-80181-RAR Document 397 Entered on FLSD Docket 12/15/2022 Page 32 of 41




                                                    2018-04-27, Email from Brett Hirsch to Minal
         1759        12/7/2022   12/7/2022                   Patel re: Fwd: Company
                                                          (doj_patel 3 0000896101 - 102)
                                                   2018-05-21 , Email frm Marc Sporn to Paige re:
         1762        12/7/2022   12/7/2022            Fwd: Alite Telemed (PRTWPP-8076MS-
                                                                 0000064321 - 323)

                                                    2018-06-13, Email from Will Slagle to Susana
                                                  Nero, Don Pinansky, Steven Goldberg, Marc Sporn
                                                   re: FULL SET OF RECOLLECTIONS THAT
        1767         12/5/2022   12/5/2022           HAVE BEEN RECENTLY REQUESTED -
                                                       PLEASE MAKE SURE THESE WERE
                                                      HANDLED OR ARE BEING HANDLED
                                                        (PRTWPP-8076MS-0000053677 - 679)

                                                   Attachment - June 4 - PGX 2 SWABS NEEDED
                                                     FOR RECOLLECTION recollection needed
        1767A        12/5/2022   12/5/2022
                                                     rejections - 06.04.18 - response - OFG3-356
                                                    (1).pdf (PRTWPP-8076MS-0000053680 - 683)
                                                  Attachment - PREDICT = CGX and RESPONSE =
        1767B        12/5/2022   12/5/2022           PGX - Rejected Specimens - OFG3-356.pdf
                                                        (PRTWPP-8076MS-0000053684 - 702)

                                                    Attachment - Sent to Don & Susana - June 7 -
                                                  FAMILY CANCER SCREENING SAMPLE NOT
                                                  ENOUGH MATERIAL - SEND 1 TUBE PLUS 2
        1767C        12/5/2022   12/5/2022
                                                     SWABS NEEDED FOR RECOLLECTION
                                                   recollection needed rejections - Predict - OFG3-
                                                   356.pdf (PRTWPP-8076MS-0000053703 - 706)

                                                    Attachment - Sent to Don & Susana - June 5 -
                                                  FAMILY CANCER SCREENING SAMPLE NOT
                                                  ENOUGH MATERIAL - SEND 1 TUBE PLUS 2
       1767D         12/5/2022   12/5/2022
                                                     SWABS NEEDED FOR RECOLLECTION
                                                   recollection needed rejections - Predict - OFG3-
                                                   356.pdf(PRTWPP-8076MS-0000053707 - 708)

                                              Attachment - Sent to Don & Susana - June 4 - PGX
                                                 2 SWABS NEEDED FOR RECOLLECTION
       1767E         12/5/2022   12/5/2022    recollection needed rejections - 06.04.18 - response
                                                    - OFG3-356 (l).pdf (PRTWPP-8076MS-
                                                               0000053709 - 712)
                                               Attachment - Medical Necessity Holds (PRTWPP-
       1767F         12/5/2022   12/5/2022
                                                          8076MS-0000053713 - 714)




                                             32
Case 9:19-cr-80181-RAR Document 397 Entered on FLSD Docket 12/15/2022 Page 33 of 41




                                                        Attachment - Sent to Francine on APril 20 -
        1767G        12/5/2022   12/5/2022           Confused Patient Issue.pdf (PRTWPP-8076MS-
                                                                      0000053715 - 715)
                                                     Attachment - sent to Francine on April 19 CGX
        1767H        12/5/2022   12/5/2022           rejections - 04.18.18 - predict- OFG3 - 356.pdf
                                                           (PRTWPP-8076MS-0000053716 - 723)
                                                      Attachment - sent to Francine on April 5 PGX
        17671        12/5/2022   12/5/2022         rejections - 04.05 .18 - response - OFG3 - 356.pdf
                                                           (PRTWPP-8076MS-0000053724 - 726)
                                                      Attachment - sent to Francine on April 3 PGX
                                                       rejections - response - 03.09.18 - OFG3 -356
        1767J        12/5/2022   12/5/2022
                                                   BOCA (1).pdf(PRTWPP-8076MS-0000053727 -
                                                                            735)
                                                      Attachment - sent to Francine on Mar 30 PGX
        1767K        12/5/2022   12/5/2022           rejections - response - 03.07.18 - OFG3 (l).pdf
                                                          (PRTWPP-8076MS-0000053736 - 741)
                                                      Attachment - sent to Francine on Mar 30 PGX
                                                       rejections - response - 03.09.18 - OFG3 -356
        1767L        12/5/2022   12/5/2022
                                                   BOCA (1).pdf (PRTWPP-8076MS-0000053742 -
                                                                            744)
                                                    Attachment - sent to Francine on Mar 30 - PGX
        1767M        12/5/2022   12/5/2022        rejections 03.14.18 - response - ofg3 - 356 boca.pdf
                                                           (PRTWPP-8076MS-0000053745 -748)
                                                     Attachment - sent to Francine on Mar 30 PGX
        1767N        12/5/2022   12/5/2022          rejections - 03.30.18 - response - OFG3-356.pdf
                                                          (PRTWPP-8076MS-0000053749 - 755)
                                                      Attachment - sent to Francine on Mar 30 CGx
        17670        12/5/2022   12/5/2022            rejections - 03.30.18 -predict - OFG3-356.pdf
                                                          (PRTWPP-8076MS-0000053756 - 759)
                                                   Attachment - sent to Francine on Feb 16 -- 3 CGx
                                                  recollect patients please send 2 swabs plus 1 saliva
        1767P        12/5/2022   12/5/2022          tube with CGx Recollects OFG3-356 rejections
                                                     02.06.18 -predict- OFG3-356 .pdf (PRTWPP-
                                                                8076MS-0000053760 - 762)
                                                   Attachment - sent to Francine on Feb 16 - 1 PGx
                                                       recollect patient please send 2 swabs only
       1767Q         12/5/2022   12/5/2022             insufficient specimen send 2 PGx swabs -
                                                     rejections 02 .14.18 - response - ofg3-356.pdf
                                                        (PRTWPP-8076MS-0000053763 - 763)
                                                  Attachment - June 13th - Sent to Susana and Don -
       1767R         12/5/2022   12/5/2022             Rejected Specimens! - OFG3-356[1] .pdf
                                                        (PRTWPP-8076MS-0000053764 - 773)




                                             33
Case 9:19-cr-80181-RAR Document 397 Entered on FLSD Docket 12/15/2022 Page 34 of 41




                                                    2018-06-14, Email from Tamikah Christburg
                                                   (LabSolutions) to Shelbi Davis (LabSolutions),
                                                     Orders@labsolutions.com, Sonal Jariwala
         1768        12/9/2022   12/9/2022
                                                   (LabSolutions), Jon Berarducci (LabSolutions),
                                                           Minal Patel re: Supply Order
                                                         (doj_patel 3 0000899955 - 956)
                                                    2018-07-05, Email from Marc Sporn to Harry
         1775        12/5/2022   12/5/2022         Karachopan re: FW: fyi (NON-PPM-8076MS-
                                                                  0000083640 - 641)
                                                   Attachment -Alite Medical Invoice NON-PPM-
        1775A        12/7/2022   12/7/2022
                                                                8076MS-0000083642)
                                                   2018-07-18, Email from Will Slagle to Steven
                                                    Goldberg, Jill Davis, Marc Sporn re: MORE
        1778         12/5/2022   12/5/2022
                                                   FIXES- MEDICARE #s - RE: Steven & Jill -
                                                         (NONPPM-8076MS-0000069508)
                                                  Attachment - Sent to Steven on July 18 for him to
                                                     address then give to Jill to address incorrect
        1778A        12/5/2022   12/5/2022
                                                    Medicare ID# - OFG3-356 BOCA - PGX.pdf
                                                       (NONPPM-8076MS-0000069509 - 515)
                                                2018-07-24, Email from Ricardo Correa to Alex
                                                    Santa, Marc Sporn re: PREDICT Cancer
        1779         12/5/2022   12/5/2022
                                                  Screening Requisition (NONPPM-8076MS-
                                                                  0000027130)
                                                  Attachment - Cancer-Screening-Requisition-
        1779A        12/5/2022   12/5/2022
                                                  Form.jpb (NONPPM-8076MS-0000027131)
                                              2018-07-31, Email from Marc Sporn to Minal Patel
        1783         12/5/2022   12/5/2022         re: palmetto-novitas (NONPPM-8076MS-
                                                                  0000093007)
                                                  Attachment-PGX_LCD_Palmetto_ICD-10
       1783A         12/5/2022   12/5/2022
                                                                 List Vl.0.xlsx
                                                  Attachment-PGX_LCD_Novitas_ICD-10
       1783B         12/5/2022   12/5/2022
                                                                 List Vl.0.xlsx
                                               Attachment - N ovitas CGX Coverage details_One
       1783C         12/5/2022   12/5/2022
                                                                   Sheet.xlsx
                                                  Attachment- CGX_LCD_Palmetto_ICD-10
       1783D         12/5/2022   12/5/2022
                                                                 List Vl.0.xlsx
                                                        Attachment - ICD-10 Reference
       1783E        12/5/2022    12/5/2022
                                                           Sheet Novitas CGX.XLSX
                                              2018-08-03, Email from Marc Sporn to Minal Patel
                                                 re: tues -8-7-18 review Potential Additional
        1785        12/5/2022    12/5/2022
                                                  Cancer Questions.xlsx (NONPPM-8076MS-
                                                                 0000097305)




                                             34
Case 9:19-cr-80181-RAR Document 397 Entered on FLSD Docket 12/15/2022 Page 35 of 41




                                                     2018-08-07, Email from Brett Hirsch to Marc
         1786        12/5/2022   12/5/2022         Sporn re : missing info - 08 .07.18 - predict - Alite
                                                         2.pdf (NONPPM-8076MS-000014314)
                                                    Attachment - missing info - 08 .07.18 - predict -
        1786A        12/5/2022   12/5/2022
                                                                       Alite 2.pdf
                                                  2018-08-09, Email from Marc Sporn to Minal Patel
         1789        12/5/2022   12/5/2022
                                                      re: info (NONPPM-8076MS-0000069507)
                                                   2018-08-15, Email from MediPak to Marc Sporn
        1792         12/5/2022   12/5/2022           re: 2 PDF Attachments (NONPPM-8076MS-
                                                                      0000065511)
                                                     Attachment - Sent to MS on Aug 15 Missing
                                                      Patient Signature and or Missing Medicare
        1792A        12/5/2022   12/5/2022        Numbers - missing info - 08.13.18 - predict - OFG-
                                                  356 BOCA.pdf (NONPPM-8076MS-0000065512 -
                                                                         530)
                                                     Attachment - Sent to MS on Aug 15 Missing
        1792B        12/5/2022   12/5/2022           Medicare Number- missing info - 08.13 .18 -
                                                           predict - OFG3-356 BOCA.pdf
                                                   2018-08-27, Email from MediPak to Marc Sporn
        1795         12/5/2022   12/5/2022           re: FW: missing info - predict - OFG3-356
                                                          (NONPPM-8076MS-0000006148)

                                                   Attachment - Sent to Jill and Marc on August 27,
        1795A        12/5/2022   12/5/2022
                                                   2018 for her to fix and return to Lab Solutions.pdf

                                                   2018-09-13, Email from MediPak to Jill Davis,
                                                  Marc Sporn re: Sept 13 - Lab Solutions Patients on
        1800         12/5/2022   12/5/2022
                                                   Hold due to ICD-1 Os not accepted (NONPPM-
                                                                8076MS-0000046150)

                                                  Attachment - Sent to Jill and Marc on Sept 13 2018
                                                   for her to fix REQUISITION and email corrected
       1800A         12/5/2022   12/5/2022
                                                        paperwork to Billing@LabSolutions.pdf
                                                           (NONPPM-8076MS-000004615 l)

                                                  2018-09-13, Email from Keith Youngswick to Jill
                                                      Davis, Marc Sporn, Brett Hirsch re: Fwd:
        1801         12/5/2022   12/5/2022
                                                       Elite/Alite Shipping (PRTWPP-8076MS-
                                                                   0000004978 - 979)
                                                  Attachment -Elite/Alite Sent to Lab Summary.xlsx
       1801A        12/5/2022    12/5/2022
                                                           (PRTWPP-8076MS-0000004980)
                                                         2018-09-14, Email from Jill Davis to
        1802        12/5/2022    12/5/2022         Billing@labsolutions.com, Marc Sporn re: Lab
                                                     PGX fixes (NONPPM-8076MS-0000016169)
                                                      Attachment - Lab solutions 09-14-2018.pdf
       1802A        12/5/2022    12/5/2022
                                                       (NONPPM-8076MS-0000016170 - 177)



                                             35
Case 9:19-cr-80181-RAR Document 397 Entered on FLSD Docket 12/15/2022 Page 36 of 41




                                                       2018-09-21, Email from Jill Davis to Keith
         1806        12/5/2022   12/5/2022           Y oungswick, Marc Sporn re: Specimen Hold
                                                        Forms (NONPPM-8076MS-0000009746)
                                                       Attachment - Alite Spec Hold forms 09-21-
        1806A        12/5/2022   12/5/2022
                                                   2018.pdf (NONPPM-8076MS-0000009747 - 790)
                                                       2018-10-10, Email from Brett Hirsch to Jon
                                                     Berarducci (LabSolutions), Mina! Patel, Keith
        1807         12/7/2022   12/7/2022
                                                                Y oungswick re: Supplies
                                                               (doj_patel 3 0000912058)
                                                     2018-11-05, Email from Marc Sporn to Mina!
        1808         12/5/2022   12/5/2022           Patel, Art Geiss re: Need email regarding lab
                                                      solutions (NON-PPM-7071AG-0000059854)
                                                     2018-12-18, Email from Marc Sporn to Keith
                                                        Youngswick, Brett Hirsch re: FW: STL-
        1813         12/5/2022   12/5/2022
                                                    ELITELABS-121018.xlsx (NONPPM-8076MS-
                                                                      0000084907)
                                                     Attachment - STL-ELITELABS-121018.xlsx
        1813A        12/5/2022   12/5/2022
                                                            (NONPPM-8076MS-0000084908)
                                                  2018-12-19, Email from Harry Karachopan to Brett
        1814         12/7/2022   12/7/2022         Hirsch, Keith Y oungswick, Marc Sporn re: Elite
                                                       Invoice (NONPPM-8076MS-0000013480)
                                                  Attachment - msinvoice.xlsx (NONPPM-8076MS-
        1814A        12/7/2022   12/7/2022
                                                                      0000013481)

                                                               2018-12-31, Email from
                                                    Lcservicesemail@gmail.com to Jill Davis, Marc
        1817         12/5/2022   12/5/2022        Sporn re: For Jill - 3 Lab Solutions cases to review
                                                  then email corrections to billing@labsolutions.com
                                                          (NONPPM-8076MS-0000004270)

                                                  Attachment - Sent to Jill on Dec 31 2018 to review
                                                       patients chart and email any corrections to
       1817A         12/5/2022   12/5/2022
                                                  billing@labsolutions.com.pdf (NONPPM-8076MS-
                                                                   0000004271 - 301)
                                                      2019-01-22, Email from Marc Sporn to Brett
        1818         12/5/2022   12/5/2022          Hirsch re: FW: PullReport_Elite-012219.csv
                                                           (NONPPM-8076MS-0000071885)
                                                       Attachment - PullReport_Elite-012219.csv
       1818A        12/5/2022    12/5/2022
                                                           (NONPPM-8076MS-0000071886)
                                                    2019-02-08, Email from Alexis Dinizo to Marc
                                                      Sporn, Art Geiss, Latissha Evans re: GHP -
        1821        12/5/2022    12/5/2022
                                                      MISSING INFORMATION*** (NONPPM-
                                                                 8076MS-0000056507)




                                             36
Case 9:19-cr-80181-RAR Document 397 Entered on FLSD Docket 12/15/2022 Page 37 of 41




                                                  Attachment - missing info - 01.21 .19 - reseponse -
        1821A        12/5/2022   12/5/2022         Good Health Partners.pdf (NONPPM-8076MS-
                                                                0000056508 - 522)
                                                     Attachment - Missing Info.jpg (NONPPM-
        1821B        12/5/2022   12/5/2022
                                                               8076MS-0000056523)

                                                  2019-02-21, Email from Latissha Evans to Ricardo
                                                   Correa, Alexander Santa, Marc Sporn re: FW:
         1822        12/5/2022   12/5/2022        LAB SOLUTIONS UPDATED CURATNE REQ
                                                   Telemed Fillable Current Molecular Req (9).pdf
                                                     attached (NONPPM-807 6MS-0000065 3 35)

                                                        2017-02-20, Email from Jon Berarducci
                                                  (LabSolutions) to Senthil Ramamurthy, Frank Ngo
        1866        11/30/2022   11/30/2022
                                                   re: CGX and Attachment - 2016/17 ICD-10-CM
                                                   Diagnosis Codes Z80 (LabSolutions-07908 - 909)

                                                      2018-07-09, Email from Jon Berarducci
                                                     (LabSolutions) to Minal Patel, Nick Saliba
        1870         12/9/2022   12/9/2022
                                                           (LabSolutions) re: June Sales
                                                             (doj_patel 3 0000902072)
        1870A        12/9/2022   12/9/2022           Attachment - June 2018 Commissions.xlsx
                                                    2016-11-17, Email from Minal Patel to Sonal
        1875        11/30/2022   11/30/2022          Jariwala (LabSolutions) re: Fwd: AD time
                                                           (HLX GOV09 0000037268)
                                                          Composite of Marketing Scripts
        1877         12/5/2022   12/5/2022
                                                           (HLX 40 0000000055 - 066)
                                                          Composite of Marketing Scripts
        1878         12/5/2022   12/5/2022
                                                           (HLX 40 0000000067 - 081)
                                                            Patient Demonstration Form
        1879         12/5/2022   12/5/2022
                                                           (HLX 40 0000000083 - 085)

        1880         12/5/2022   12/5/2022        Patient Return of Kit (HLX 40 0000000103 - 104)

        1881         12/5/2022   12/5/2022            Swab Instructions (HLX 40 0000000101)
                                                  Specimen Collection Script (HLX_40_0000000097
        1882         12/5/2022   12/5/2022
                                                                        - 099)

        1883         12/5/2022   12/5/2022    Medical Appointment Card (HLX_40_0000000095)

        1884        12/5/2022    12/5/2022        Photos of Swab Kit (HLX 40 0000000090 - 091)
                                                            MVP Coverage Detail Report
        1885        12/5/2022    12/5/2022
                                                             (HLX 40 0000000087 - 088)
                                                   2018-07-25, Email from Jeffrey Morin to Brett
        1888        12/7/2022    12/7/2022        Hirsch re: Call Script (doj_patel_3 _ 0002031033 -
                                                                          035)




                                             37
Case 9:19-cr-80181-RAR Document 397 Entered on FLSD Docket 12/15/2022 Page 38 of 41




                                                      Attachment - genetic screening Script.docx
        1888A        12/7/2022   12/7/2022
                                                              (doj_patel 3 0002031036)
                                                     2018-11-25, Email from 24Hr VCM to Brett
         1889        12/7/2022   12/7/2022          Hirsch, Dylan Sporn, Matt Egan re: ELITE Lab
                                                   Services Daily Counts (doj_patel 3 0002026420)

        1889A        12/7/2022   12/7/2022         Attachment - dailyCountsELITE Lab Services.csv

                                                     2018-12-15, Email from 24Hr VCM to Brett
         1890        12/7/2022   12/7/2022          Hirsch, Dylan Sporn, Matt Egan re: ELITE Lab
                                                   Services Daily Counts (doj_patel 3 0002022951)

        1890A        12/7/2022   12/7/2022         Attachment - dailyCountsELITE Lab Services.csv

                                                     2018-12-29, Email from 24Hr VCM to Brett
        1891         12/7/2022   12/7/2022          Hirsch, Dylan Sporn, Matt Egan re: ELITE Lab
                                                   Services Daily Counts (doj_patel 3 0002021957)

        1891A        12/7/2022   12/7/2022         Attachment - dailyCountsELITE Lab Services.csv

                                                     2019-01-29, Email from 24Hr VCM to Brett
        1894         12/7/2022   12/7/2022          Hirsch, Dylan Sporn, Matt Egan re: ELITE Lab
                                                   Services Daily Counts (doj_patel 3 0002019882)

        1894A        12/7/2022   12/7/2022         Attachment - dailyCountsELITE Lab Services.csv

                                                     2019-03-21, Email from 24Hr VCM to Brett
        1898         12/7/2022   12/7/2022          Hirsch, Dylan Sporn, Matt Egan re: ELITE Lab
                                                   Services Daily Counts (doj_patel 3 0002016092)

        1898A        12/7/2022   12/7/2022        Attachment - dailyCountsELITE Lab Services.csv

                                                   2019-04-09, Email from Jeffrey Morin to Brett
        1899         12/7/2022   12/7/2022             Hirsch, Keith Y oungswick re: MD Plus
                                                           (doj_patel 3 0002014179 - 180)
                                                    2019-06-04, Email from 24Hr VMD to Brett
        1900         12/7/2022   12/7/2022         Hirsch, Dylan Sporn, Matt Egan re: ELITE Lab
                                                  Services Daily Counts (doj_patel 3 0002007270)

       1900A         12/7/2022   12/7/2022        Attachment - dailyCountsELITE Lab Services.csv

                                                     2018-11-27, Email from Marc Sporn to Nick
        1908         12/5/2022   12/5/2022        Saliba (LabSolutions) re: FW: Genesis Diagnostics-
                                                     CGX-PGX (PRTWPP-8076MS-0000060411)


                                                           Attachment - CGX LCD ICD-
       1908A         12/5/2022   12/5/2022
                                                           l0_GUIDELINE.xlsx (native)




                                             38
Case 9:19-cr-80181-RAR Document 397 Entered on FLSD Docket 12/15/2022 Page 39 of 41




                                                    Attachment - MEDICARE PGX CPT-ICD-10
        1908B        12/5/2022   12/5/2022
                                                          CHEAT SHEET (3).xlsx (native)

         1909        12/5/2022   12/5/2022                  exportReport (21) .csv (native)
        1909A        12/5/2022   12/5/2022                        export screenshot

         1910        12/5/2022   12/5/2022        sean-orourke-md_558_Audit01262022.xls (native)

        1910A        12/5/2022   12/5/2022                          export screenshot
                                                   2018-02-21, Email from Steven to Jon Berarducci,
         1911        12/5/2022   12/5/2022            Will Slagle, Marc Sporn re: Compliance doc
                                                                 (SPORN 0000042186)
                                                       Attachment - Comp LS CPL-02-21-18.pdf
        1911A        12/5/2022   12/5/2022
                                                              (SPORN 0000042187 - 321)
        1912         12/5/2022   12/5/2022          Real Time Physicians (Sporn) Portal Screenshots
                                                  2018-11-06, Email from Matt Egan to Marc Sporn
        1913         12/2/2022   12/2/2022        re: Fwd: Launch (NONPPM-8076MS-0000011070
                                                                         - 073)

                                                   Attachment - Screen Shot 2018-10-29 at 3.58.00
        1913A        12/2/2022   12/2/2022
                                                      PM.png (NONPPM-8076MS-0000011074)

                                                   Attachment - Screen Shot 2018-10-29 at 3.58.24
        1913B        12/2/2022   12/2/2022
                                                      PM.png (NONPPM-8076MS-0000011075)

                                                  Attachment - Screen Shot 2018-10-29 at 3.58.47
        1913C        12/2/2022   12/2/2022
                                                     PM.png (NONPPM-8076MS-0000011076)

                                                   2019-01-28, Email from Jessie Dugan to Marc
                                                    Sporn, Steven Goldberg, Will Ehrich re: Re:
        1915         12/2/2022   12/2/2022
                                                   MedTech I Tibrio: Account Setup (NONPPM-
                                                            8076MS-0000011424 - 426)
                                                  Attachment - Screen Shot 2019-01-28 at 9.01.21
       1915A         12/2/2022   12/2/2022
                                                                       AM.png
                                                   2019-02-12, Email from Jessie Dugan to Marc
        1916         12/2/2022   12/2/2022            Sporn re: Re: leads (NONPPM-8076MS-
                                                                 0000062799 - 800)

                                                  Attachment - Screen Shot 2019-02-12 at 9.12.35
       1916A         12/2/2022   12/2/2022
                                                    AM.png (NONPPM-8076MS-0000062801)

                                                  Attachment - Screen Shot 2019-02-12 at 9.12.28
       1916B         12/2/2022   12/2/2022
                                                    AM.png (NONPPM-8076MS-0000062802)

                                                  Attachment - Screen Shot 2019-02-12 at 9.12.20
       1916C         12/2/2022   12/2/2022
                                                    AM.png (NONPPM-8076MS-0000062803)


                                             39
Case 9:19-cr-80181-RAR Document 397 Entered on FLSD Docket 12/15/2022 Page 40 of 41




                                                    Attachment - Screen Shot 2019-02-12 at 9.12.11
        1916D        12/2/2022    12/2/2022
                                                      AM.png (NONPPM-8076MS-0000062804)

                                                     2017-01-17, Email from R2R Here to Help to
                                                    Thanasi Ziros, Shawn Griner, Christian McKeon,
        1938         12/6/2022    12/6/2022        Michael Redway, Minal Patel, Jon Berarducci re: 6
                                                              New Agents see attachment
                                                               (doj_patel 3 0000919785)
                                                       Attachment - R2R Marketing New Agents
        1938A        12/6/2022    12/6/2022
                                                                       1.17.17.xlsx
                                                   2017-01-19, Email from Sonal Jariwala to Shawn
        1939         12/6/2022    12/6/2022          Griner, Lesline Julien, Minal Patel re: Re: Fw:
                                                        BAA (doj_patel 3 0000920656 - 657)
                                                       Attachment - S36BW-201062323470.pdf
        1939A        12/6/2022   12/6/2022          (MyOnCallDoc Business Associate Agreement)
                                                            (doj_patel 3 0000920658 - 661)
                                                   2016-12-26, Email from Shawn Griner to Senthil
                                                   Ramamurthy, Frank Ngo, Latoria Cookie, Michael .
        1941         12/6/2022   12/6/2022         Lockett, Nicholas Vartanian, Meena Rama, Minal
                                                                Patel re: Re: Fwd: PW:
                                                          (HLX GOV09 0000027927 - 930)
                                                     2016-11-23 , Email from Christian McKean to
        1963         12/6/2022   12/6/2022           Minal Patel, Shawn Griner re: Fw: Red Lined
                                                         Agreement (HLX MP 0000208828)

                                                    Attachment - Global HealthcareAgreement - 30
       1963A         12/6/2022   12/6/2022
                                                   percent (1) (2).pdf (HLX_MP_0000208829 - 841)

        1964         12/6/2022   12/6/2022 ,                     IDGAF Agreement
        2000         12/7/2022   12/7/2022                 Photos of Hirsch at LabSolutions



        200         11/30/2022   11/30/2022                        OIG Guidance



        A-1         11/30/2022   11/30/2022                   Assorted Correspondence
        A-2         11/30/2022   11/30/2022                   Assorted Correspondence
        A-3         11/30/2022   11/30/2022                   Assorted Correspondence
        A-4         11/30/2022   11/30/2022                   Assorted Correspondence
        A-5         11/30/2022   11/30/2022                   Assorted Correspondence
        B-1         12/1/2022    12/1/2022                    Assorted S. Adair Emails
        B-2         12/1/2022    12/ 1/2022                   Assorted S. Adair Emails
        B-3         12/ 1/2022   12/ 1/2022                   Assorted S. Adair Emails
        B-4         12/1/2022    12/1/2022                    Assorted S. Adair Emails
        B-5         12/1/2022    12/1/2022                    Assorted S. Adair Emails

                                              40
Case 9:19-cr-80181-RAR Document 397 Entered on FLSD Docket 12/15/2022 Page 41 of 41




         B-6         12/1/2022   12/1/2022                    Assorted S. Adair Emails
         B-7         12/1/2022   12/1/2022                    Assorted S. Adair Emails
         B-8         12/1/2022   12/1/2022                    Assorted S. Adair Emails
         B-9         12/1/2022   12/1/2022                    Assorted S. Adair Emails
        B-10         12/1/2022   12/1/2022                    Assorted S. Adair Emails
          D          12/1/2022   12/1/2022                    Physical Requisition Form
         E-1         12/2/2022   12/2/2022                   Assorted A. Roebuck Emails
         E-2         12/2/2022   12/2/2022                  Assorted A. Roebuck Emails
         E-3         12/2/2022   12/2/2022                   Assorted A. Roebuck Emails
         E-4         12/2/2022   12/2/2022                  Assorted A. Roebuck Emails
         E-5         12/2/2022   12/2/2022                  Assorted A. Roebuck Emails
         E-6         12/2/2022   12/2/2022                  Assorted A. Roebuck Emails
         E-7         12/2/2022   12/2/2022                  Assorted A. Roebuck Emails
         E-8         12/2/2022   12/2/2022                  Assorted A. Roebuck Emails
         E-9         12/2/2022   12/2/2022                  Assorted A. Roebuck Emails
        E-10         12/2/2022   12/2/2022                  Assorted A. Roebuck Emails
        E-11         12/2/2022   12/2/2022                  Assorted A. Roebuck Emails
        E-12         12/2/2022   12/2/2022                  Assorted A. Roebuck Emails
        E-13         12/2/2022   12/2/2022                  Assorted A. Roebuck Emails
        E-14         12/2/2022   12/2/2022                  Assorted A. Roebuck Emails
        G-1          12/6/2022   12/6/2022                  Email from Griner to Mckeon
                                                  Email received by Griner including discussions of
        G-2          12/6/2022   12/6/2022          commissions between Tobin Watt and Nick
                                                                     Oberheiden
        G-4          12/6/2022   12/6/2022                     Assorted Text Messages
        G-5          12/6/2022   12/6/2022                     Assorted Text Messages

        G-6          12/6/2022   12/6/2022        Email from Ziros to MyOnCall Doc copying Griner

        BH-1         12/8/2022   12/8/2022         Text Messages between M. Lohan to B. Hirsch
        BH-2         12/8/2022   12/8/2022         Text Messages between M. Lohan to B. Hirsch
        BH-6         12/6/2022   12/6/2022         Text Messages between M. Lohan to B. Hirsch




                                             41
